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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CHRISTOPHER EVERETT, on behalf of                )
himself and a proposed class                     )
                                                 )
                                      Plaintiff, )              Case No. 1:13-cv-04697
       v.                                        )
                                                 )             Judge Edmond E. Chang
JOHN R. BALDWIN, in his official                 )
capacity as Acting Director of the Illinois      )    Magistrate Judge Geraldine Soat Brown
Department of Corrections; and TARRY             )
Williams, in his official capacity as Warden )             CLASS ACTION COMPLAINT
of Stateville Correctional Center,               )
                                                 )
                                  Defendants. )

                             SECOND AMENDED COMPLAINT

       Plaintiff Christopher Everett (“Plaintiff”), on behalf of himself and a proposed class,

alleges as follows for his Second Amended Complaint against John R. Baldwin (“Baldwin”), in

his official capacity as Acting Director of the Illinois Department of Corrections (“IDOC”) and

Tarry Williams (“Williams”) (collectively, “Defendants”), in his official capacity as Warden of

Stateville Correctional Center (“Stateville”).

                                  NATURE OF THE ACTION

       1.      Throughout Plaintiff’s incarceration at Stateville, Defendants have repeatedly

failed to provide him with necessary medical treatment and accommodations. More specifically,

and as discussed in more detail herein, when Plaintiff injured himself in June of 2009 and again

in April of 2013, Defendants refused to provide Plaintiff with medical attention or treatment for

multiple days. And when Plaintiff was able to see a medical professional, IDOC failed or

refused to honor medical prescriptions and permits Plaintiff received from the medical

professional provided by IDOC.
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       2.      Defendants failed Plaintiff at every turn. These failures to provide Plaintiff with

necessary medical treatment and medically-necessary accommodations have deprived Plaintiff of

his rights under the Eighth Amendment to the United States Constitution as well as his rights

under the Americans with Disabilities Act (“ADA”) and the Rehabilitation Act of 1973 (“RA”).

       3.      Moreover, there is a pattern and practice of IDOC categorically refusing to

enforce low gallery and low bunk permits at Stateville in spite of medical evaluations indicating

that inmates should be placed in low galleries and/or low bunks. Indeed, many cases have been

brought by inmates at Stateville accusing IDOC of failing to honor low gallery and low bunk

permits. See, e.g., Johnson v. Godinez, 2015 WL 135103, at *1-3 (N.D. Ill. Jan. 9, 2015)

(Stateville inmate complaining of placement inconsistent with a medical permit); Hunt v. Hardy,

2012 WL 2458943, at *4-5 (N.D. Ill. June 27, 2012) (same); McPherson v. Bunch, 2004 WL

1151566, at *1 (N.D. Ill. May 3, 2004) (same); Spivey v. Godinez, 1995 U.S. Dist. LEXIS

13640, at *43-44 (N.D. Ill. Sept. 14, 1995) (Stateville inmates have been litigating this issue for

more than 20 years). In addition, IDOC has repeatedly refused to honor Plaintiff’s low gallery

and low bunk permits.

       4.      As such, Plaintiff brings this lawsuit pursuant to 42 U.S.C. § 1983, the ADA and

the RA, seeking declaratory and injunctive relief as well as individual damages for himself as a

result of Defendants’ violations of Plaintiff’s rights under the Eighth Amendment, the ADA and

the RA.

       5.      Plaintiff also seeks declaratory and injunctive relief on behalf of a proposed class

(as defined herein) for the continuing violations of 42 U.S.C. § 1983 by Defendants Baldwin and

Williams based upon the official policy and widespread custom and practice of IDOC of failing

or refusing to honor the medical permits of Plaintiff and other inmates at Stateville.




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                                         THE PARTIES

                                             Plaintiff

        6.     Plaintiff is an inmate with IDOC and has been incarcerated in Stateville since

2003.

                                           Defendants

        7.     Defendant Baldwin has been the Acting Director of IDOC since August 14, 2015.

Upon information and belief, Baldwin is responsible for establishing IDOC policies, customs and

practices as discussed herein. In all of his actions, Baldwin was acting under color of state law

and in the course of his employment. The claims being made against Baldwin are brought

against him in his official capacity.

        8.     Defendant Williams is employed by IDOC as Warden of Stateville. Upon

information and belief, Williams is responsible for establishing Stateville policies, customs and

practices as discussed herein. In all of his actions, Williams was acting under color of state law

and in the course of his employment. The claims being made against Williams are brought

against him in his official capacity.

                                 JURISDICTION AND VENUE

        9.     This Court has original jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

and 1343, because it is a civil action arising under the ADA, the RA and the Eighth Amendment

to the United States Constitution, as made applicable to the states through the Fourteenth

Amendment.

        10.    This Court is authorized to render declaratory relief pursuant to 28 U.S.C.

§§ 2201 and 2202.




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        11.     Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. § 1391,

because all of the events and policies at issue took place or were applied at Stateville, located in

Will County, Illinois, which is located within the Northern District of Illinois.

                            PLAINTIFF’S FACTUAL ALLEGATIONS

                       A.     After Two Serious Injuries In April Of 2013,
                                 Plaintiff’s Medical Needs Are Ignored

        12.     In April of 2013, Plaintiff seriously injured his left knee while in his cell. He was

unable to fully bend or extend his left leg, and it felt as if a ligament connected to his knee

popped each time he tried. He, in turn, experienced constant throbbing pain.

        13.     On April 16, 2013, Plaintiff was seen in the Stateville healthcare unit, where he

was prescribed crutches for two weeks and was prescribed a low gallery and low bunk permit by

Jennifer A. Asante, a Licensed Practical Nurse.

        14.     His prescriptions were not converted into medical permits and Plaintiff did not

receive any of the prescribed relief, because, on information and belief, IDOC and Stateville will

only provide prescribed relief if the relief is written on medical permit paperwork.

        15.     Plaintiff filed a grievance the following day complaining of failures by healthcare

unit staff and correctional staff to provide relief.

        16.     Plaintiff returned to the Stateville healthcare unit on April 23, 2013 -- after a full

week without medically-prescribed crutches, a low gallery or a low bunk -- and was re-

prescribed two crutches for seven days and a low bunk (but not a low gallery) for one month.

This time, Plaintiff also received a permit for the prescribed relief.

        17.     Despite that permit, however, IDOC took no actions to move Plaintiff into a low

bunk or to otherwise honor the permit provided to Plaintiff by medical personnel at Stateville.




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Nor had IDOC previously taken any action to move Plaintiff to a low gallery or low bunk in

accordance with the prescriptions he received on April 16, 2013.

       18.     On April 28, 2013 -- while relegated to the top bunk in the highest gallery of his

cell house, despite his prescription for a low gallery, his permit requiring a low bunk and his use

of crutches -- Plaintiff re-injured his knee while in his cell. Plaintiff was compensating for his

already injured left knee, and after bending over to move his belongings, Plaintiff found that he

was in severe and constant pain.

       19.     Plaintiff immediately laid down on the floor, in front of the door to his cell and

asked a correctional officer for help. That correctional officer said that he had contacted the

healthcare unit but could not do anything else for Plaintiff.

       20.     After waiting for an hour and fifteen minutes, while still lying on the floor of his

cell and having not received any medical attention, Plaintiff again asked the same correctional

officer for help. That correctional officer repeated that he had contacted the healthcare unit and

could not do anything else for Plaintiff.

       21.     Approximately thirty minutes later -- now an hour and forty-five minutes after

Plaintiff re-injured his knee -- a correctional officer announced that Christian inmates could

leave their cells to attend church services. Plaintiff took this opportunity to check out of his cell

and attempt to seek help elsewhere.

       22.     Plaintiff, still in pain and unable to fully use his left leg, slowly descended from

the fifth floor to the ground floor of his cell house. He again requested help, this time in the form

of a wheelchair and assistance getting to the healthcare unit, and sat in the “bull pen” area of his

cell house for an hour to an hour and a half waiting for the requested help.




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       23.     Had IDOC honored Plaintiff’s medical prescriptions and permits from April 16

and April 23, 2013, Plaintiff would not have had to drag himself down five flights of metal stairs,

in significant pain, to try to secure emergency medical relief.

       24.     Eventually, a correctional officer obtained a wheelchair for Plaintiff and wheeled

him to the outside of the healthcare unit.

       25.     Instead of receiving medical help when he finally arrived at the healthcare unit

more than three hours after being injured, Plaintiff was denied entry to the healthcare unit. He

was informed by Shanal Barnett, a medical technician on duty, that he would not be allowed to

enter the healthcare unit that day because he was on a list to be seen in the healthcare unit on

April 30, 2013, two days later.

       26.     Plaintiff, desperate for some relief and assistance, explained that he was in severe

pain, could not stand upright, and could not walk, and Plaintiff begged Barnett to help him.

Barnett, however, refused to evaluate Plaintiff or allow him to enter the healthcare unit.

       27.     Unable to receive medical attention and unable to stand up and return to his cell,

Plaintiff was returned to the “bull pen” area in his cell house where he sat for hours in the hopes

of being seen by a medical technician assigned to that cell house.

       28.     Karen Fryerson, the medical technician assigned to Plaintiff’s cell house, finally

visited Plaintiff sometime after dark. She offered Plaintiff Tylenol but otherwise confirmed that

she would not or could not help him, because he was scheduled to be seen in the healthcare unit

approximately two days later.

       29.     Upon information and belief, Barnett and Fryerson were acting pursuant to IDOC

and/or Stateville official policy and widespread custom and practice in refusing to diagnose or

treat Plaintiff because he was scheduled to be seen in the healthcare unit at a later date.




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       30.     Unable to secure any medical attention and having sat in the “bull pen” in his cell

house for approximately ten to twelve hours after being denied treatment in the healthcare unit,

Plaintiff asked Richanda Carr (“Carr”) and Richard Samuelson (“Samuelson”), both correctional

officers, for an emergency low gallery/low bunk assignment based on his inability to stand, let

alone climb five flights of stairs to his cell and climb into his top bunk, for which, as discussed in

more detail below, Plaintiff was not given a ladder. Given that Plaintiff was using crutches, had

been prescribed a low gallery and had a permit for a low bunk, the request should not have even

needed to be made.

       31.     Carr and Samuelson, who upon information and belief had authority to grant

Plaintiff an emergency cell reassignment, refused Plaintiff’s request and in so doing, refused to

respond to Plaintiff’s obvious and objectively clear medical need. They also refused to assist

Plaintiff in receiving any medical attention and refused to ensure that IDOC complied with

Plaintiff’s low bunk permit.

       32.     Instead, Samuelson ordered Plaintiff to return to his cell or be sent to segregation.

       33.     In an effort to avoid being punished, Plaintiff spent at least thirty minutes

crawling from the ground floor to his cell on the fifth floor. Plaintiff alternately crawled

backwards up flights of stairs, lifting himself onto a higher stair with his arms and dragging his

legs along with him, and hobbled up flights of stairs while using only his right leg. The pain was

considerable. Not a single officer or employee of IDOC or Stateville, however, assisted Plaintiff

in returning to his cell or seeking medical attention.

       34.     When Plaintiff finally arrived in his cell, he was exhausted. He could not stand

upright, much less climb into his top bunk, and was forced to lay and eventually sleep on the




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floor of his cell. Plaintiff remained on the floor of his cell for the remainder of April 28, 2013

and all of the following day.

       35.        After spending two days in pain on the floor of his cell, Plaintiff was finally seen

in the healthcare unit on April 30, 2013. Due to the severity of his injuries, Plaintiff was

prescribed pain medication, two weeks of lay-in privileges and a low gallery and low bunk for

ninety days by Saleh Obaisi, a Medical Doctor.

       36.        Plaintiff, however, did not receive this prescribed relief. As a result, Plaintiff was

forced to spend much of the period between April 30, 2013 and May 14, 2013 on the floor of his

cell, including while he slept.

       37.        On May 14, 2013, Plaintiff was again seen in the healthcare unit. This time, he

was prescribed and received a permit for one crutch for two weeks and a low gallery and low

bunk for three months.

       38.        Again, however, IDOC failed or refused to honor Plaintiff’s permit; he was never

assigned to a low bunk or a first-floor cell at any point between May 14 and August 14, 2013.

       39.        IDOC similarly failed or refused to assign Plaintiff to a low bunk in response to

medical permits dated October 29, 2013 and November 12, 2013 requiring the same. As before,

Plaintiff was forced to spend much of the time around these dates on the floor of his cell,

including while he slept.

             B.     Plaintiff’s Experience In 2013 Was Not Unique, As Stateville Has
                              A History Of Failing And Refusing To Provide
                       Inmates With Immediate And Necessary Medical Attention

       40.        Upon information and belief, Stateville frequently denies immediate medical

attention to inmates, and inmates often wait days or months before seeing a doctor. See, e.g.,

2013 Monitoring Report of John Howard Association of Illinois (“JHA Report”), Ex. A hereto,

at 1, 8-9 (“Although Stateville reported 13,352 sick call visits for 2012, some inmates reported


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that they had not seen healthcare staff because sick call requests were ignored, with reports of no

response in more than two months. . . . Inmates reported that physicians are frequently not at the

facility and appointments are cancelled.”); December 2014 Final Report of the Court Appointed

Expert in Lippert v. Godinez, Ex. B hereto (excerpt), at 6-7, 18 (Stateville experiences “process

and care breakdowns on a daily basis,” “23 of Stateville’s 66 budgeted [medical] positions are

vacant,” including “key leadership positions,” and a “particular concern” at Stateville “is the

frequent arbitrary cancelling of sick call encounters by security staff,” which “represent

significant impediments to access to care and result in delays in treatment.”); id. App’x A,

February 2014 Stateville Correctional Center Report, at 3 (“There is a major problem with access

to care at this facility.”).

         41.     Indeed, several years earlier, in or about June of 2009, Plaintiff was similarly

denied timely medical attention. Plaintiff slipped and fell while climbing down from his top

bunk, which fall caused a serious injury to Plaintiff’s back and sharp pains when he sat and

stood.

         42.     Given that Plaintiff was having difficulty standing and walking, he requested to

see a doctor immediately, but his request was denied. In fact, despite his serious injury, Plaintiff

was not seen in Stateville’s healthcare unit until two days later.

         43.     And when Plaintiff was finally able to see a medical professional, he was given

over-the-counter pain medication, was advised to stay in bed and off his feet for one week and

then walk only with the use of two crutches for the following two to three weeks and was also

given a three-month low gallery/low bunk permit, which was promptly ignored, as discussed in

Paragraphs 45 to 52 below.




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                    C.    Starting In 2009, Plaintiff’s Medical Prescriptions
                                And Permits Are Repeatedly Ignored

       44.     In addition to not having his medical needs met on a timely basis, Plaintiff’s

medical prescriptions and permits -- specifically relating to low galleries and low bunks -- were

deliberately ignored on multiple occasions.

       45.     The low bunk permit was particularly important, because inmates at Stateville are

not provided with ladders or step stools that might assist them in climbing onto a top bunk that is

nearly six feet off the ground. Without a ladder or other assistance to climb into their beds,

inmates are forced to climb onto the combination sink/toilet, which was more often than not

slippery and wet, leap more than three feet to the bunk bed, grab the top bunk and pull

themselves onto it. Climbing down is no less difficult. Inmates are forced to wriggle to the edge

of the bed, stretch their legs as close to the combination sink/toilet as they can, jump as carefully

as possible onto the likely slippery and wet combination sink/toilet and then climb to the ground.

       46.     For example, after his injury in 2009 (which was actually caused by falling when

attempting to climb, without the assistance of a ladder, from his top bunk), Plaintiff was given a

three-month low gallery/low bunk permit, as having to climb stairs and into a top bunk with an

injured back was not medically advised.

       47.     Despite having a low gallery/low bunk permit, however, Plaintiff was left in his

high gallery cell and in his top bunk for approximately one month.

       48.     Because Plaintiff’s medical needs were ignored for a full month, Plaintiff was

forced to continually climb up and down stairs multiple times a day for basic necessities like

meals. He was also frequently forced to sleep on the floor, as the injury to his back often

prevented him from being able to haul himself into bed.




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       49.     When Plaintiff was finally moved to a lower gallery (a cell on the second floor) in

or about July of 2009, he still was not provided a low bunk, and Plaintiff was forced to continue

to sleep on the floor on the days when his back hurt too much for him to climb in and out of his

top bunk.

       50.     In fact, Plaintiff never received the medically-necessary accommodations that

were ordered by a medical provider during the summer of 2009.

       51.     As a result of failing to receive his medically-necessary accommodation,

Plaintiff’s injury persisted and even worsened. Plaintiff continued to have back pain and spasms

for several years, and he even injured his knee attempting to compensate for the weakness and

pain in his back.

                    D.   Stateville Inmates’ Medical Prescriptions And Permits
                           Are Routinely Ignored Or Disregarded Altogether

       52.     Indeed, upon information and belief, IDOC and Stateville have an official policy

and widespread custom and practice of refusing to grant or honor low gallery/low bunk permits.

See, e.g., JHA Report at 10 (“Many healthcare complaints JHA received related to conditions of

an older population, including things like requests for lower bunk permits. IDOC officials noted

that while they will grant bottom bunk requests when appropriate, they do not grant bottom

gallery requests.”).

       53.     While some IDOC facilities assign inmates to top or bottom bunks, Stateville

does not.

       54.     Neither Stateville nor IDOC maintains any written policy or procedure relating to

compliance with medical permits requiring low galleries, low bunks or both.

       55.     After his injury in April of 2013, Plaintiff was on crutches and was prescribed a

low gallery and low bunk. But despite his medical prescriptions and permit and use of crutches,



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Plaintiff was left in a top bunk on the highest gallery of his cell house, requiring him to climb to

the fifth floor and attempt to jump from his combination sink/toilet to his top bunk, all while on

crutches and suffering from severe pain.

        56.     As a result, Plaintiff was again frequently forced to sleep on the floor of his cell.

        57.     Moreover, because Plaintiff was often unable to climb the stairs, he was denied

equal access to many basic necessities, such as meals (the dining hall is on the ground floor) and

showers (the showers are also on the ground floor), and otherwise was denied access to many

prison facilities as a practical matter.

        58.     Despite repeated verbal requests that his medical prescriptions and permits be

honored starting on April 16, 2013, Plaintiff remained on the highest gallery and in a top bunk.

        59.     Having not received any assistance obtaining accommodations consistent with his

medical prescriptions and permit, Plaintiff filed grievances on April 17, 2013 and April 28, 2013,

specifically addressing the failure to place him on a low gallery and in a low bunk consistent

with his medical prescriptions and permit.

        60.     Although Plaintiff indicated that his grievances in April of 2013 were

emergencies, his April 17, 2013 grievance was not reviewed for emergency status until April 25,

2013 and was not responded to until May 1, 2013. Notably, however, Plaintiff’s April 28, 2013

grievance, also labeled as an emergency, was not reviewed for emergency status until May 3,

2013 and was never responded to and was, instead, stamped “INMATE ISSUES” on May 23,

2013 and returned to Plaintiff.

        61.     The eventual response to Plaintiff’s April 17, 2013 grievance, however, implicitly

recognized the severity of Plaintiff’s situation, as it indicated that Plaintiff should and would be

moved in order to accommodate his medical needs.




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       62.     Plaintiff received another low gallery and low bunk permit on May 14, 2013. He

was moved from cell D-933 (on the highest floor of the cell house) to cell D-539 (on the third

floor of the cell house) at approximately 4:00 p.m. the same day. His new cell was not on a low

gallery, and he was not guaranteed a low bunk, as he was told to simply work it out with his new

cellmate.

       63.     Plaintiff’s new cellmate refused to give up his low bunk and threatened to kill

Plaintiff if he was forced to give Plaintiff the low bunk.

       64.     As a result, Plaintiff was forced to continue to sleep on the floor of his cell or risk

serious bodily harm from his cellmate for insisting that his cellmate give up the low bunk.

       65.     Plaintiff felt unable to complain about his situation to security staff, for fear of

being injured or killed by other inmates for “snitching” on his cellmate.

       66.     On May 17, 2013, Plaintiff filed another grievance regarding his placement,

noting that despite his low gallery/low bunk permit and a response to a prior grievance indicating

his medical needs should be accommodated, he was placed in a cell in which his cellmate did not

want to give up the low bunk and threatened to harm Plaintiff. Afraid of retaliation for having to

report his cellmate for not giving up the low bunk, Plaintiff specifically asked IDOC to “move

[him] to where there is a bottom bunk available,” rather than keep him in the same cell and make

his cellmate change bunks. Again, however, Plaintiff’s grievance, marked as an emergency, was

not reviewed for emergency status until May 31, 2013 (two weeks later) and was not responded

to until August 5, 2013 (more than eleven weeks later).

       67.     After nearly three more weeks of being housed on the third floor of his cell house,

Plaintiff was moved to cell D-349 on June 3, 2013, and then to cell D-344 more than three weeks

later. These cells were on the second floor of Plaintiff’s cell house, meaning Plaintiff still had to




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climb and descend stairs in order to participate in programs and activities such as meals and

showers.

       68.     The damage to Plaintiff was significant. As a result of failing to receive

accommodations consistent with his medical prescriptions and permits, Plaintiff’s injury

persisted. His injuries were unpredictable, often flaring up after Plaintiff was forced to exert

himself, such as when Plaintiff had to climb varying numbers of stairs and try to maneuver

himself into a top bunk multiple times per day.

       69.     Plaintiff was moved into cell F-242 on August 2, 2013. At this time, there were

less than two weeks remaining in Plaintiff’s three-month low gallery and low bunk permit issued

May 14, 2013. Unlike certain other cell houses, in which 200-level cells are on the first floor,

cell F-242 is on the second floor of F house and inmates must climb stairs in order to access it.

       70.     In another instance in November of 2013, Plaintiff had a low bunk permit but was

moved to a cell in which another cellmate refused to give up the low bunk.

       71.     Desperate for relief, Plaintiff notified a correctional officer of this situation in

confidence and asked to be moved to a cell in which a low bunk was available. That correctional

officer, in turn, notified Karen Rabideau (“Rabideau”) and Shaun Bass (“Bass”), correctional

counselors responsible for assigning inmates to cells and accommodating low gallery/low bunk

permits.

       72.     The same correctional officer told Plaintiff that Rabideau and Bass knew about

Plaintiff’s situation but refused to address it. Specifically, Rabideau and Bass said that there

were no low galleries and low bunks available, despite the fact that Plaintiff knew of certain

inmates who did not have low gallery or low bunk permits but nevertheless had low galleries

and/or low bunks.




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       73.     Receiving no relief from the correctional officers or counselors, Plaintiff filed

another grievance on November 24, 2013. Plaintiff again complained that no low bunk had been

secured for him, despite his low bunk permit, leaving him to “argue or possibly fight with” his

cellmate -- or perhaps report his cellmate to authorities, but putting himself directly in harm’s

way in any case -- in order to secure accommodations consistent with his medical prescriptions

and permits.

       74.     Plaintiff’s grievance was responded to on December 6, 2013 with a statement that

Plaintiff was not entitled to a low gallery/low bunk. The response included as an attachment a

permit that expired on November 12, 2013 and omitted the fact that Plaintiff had received a

renewal of that permit through December 30, 2013.

       75.     Upon information and belief, each and every instance in which Plaintiff was

denied medical accommodations was consistent with IDOC or Stateville official policy and

widespread custom and practice by which both placement staff and security staff pass the buck

and refuse responsibility for ensuring that inmates receive low galleries, low bunks or both

consistent with their medical prescriptions and/or permits.

       76.     Indeed, in a letter dated January 2, 2014, Rabideau -- Stateville’s primary

placement officer -- wrote to Plaintiff that it was not her responsibility to see that he receive a

low bunk and that he should raise any concerns about his inability to secure a low bunk with

security staff. In each instance where Plaintiff spoke to security staff, however, he was told to

speak with the placement officer to enforce his medical permits.

       77.     Upon information and belief, IDOC’s and Stateville’s failures and refusals to

timely comply with Plaintiff’s medical permits are by no means unique to Plaintiff. Instead, as a

direct and proximate result of IDOC’s and Stateville’s decisions to not assign inmates to specific




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bunks and to not maintain written policies for compliance with low gallery and/or low bunk

permits, inmates at Stateville are continually denied timely assignment to low galleries, low

bunks or both, despite having medical permits and/or obvious medical needs requiring the same.

       78.     IDOC and/or Stateville staff had numerous opportunities to ensure compliance

with Plaintiff’s low bunk permits but failed or refused to do so. For example, IDOC and/or

Stateville staff escorted Plaintiff each time he was moved to a new cell, including instances in

which he was moved based on a medical permit. IDOC and/or Stateville staff could have

ordered Plaintiff’s new cellmate to give Plaintiff the lower bunk -- easily, immediately and

consistent with Plaintiff’s medical prescriptions and permits -- in each such instance.

                        E.   IDOC Refuses To Accommodate Plaintiff’s
                                Disability In His Work Assignment

       79.     Adding insult to injury, not only was Plaintiff denied timely medical attention and

appropriate medical accommodations, but he was also discriminated against based upon his

temporary disability.

       80.     Prior to his injury in April of 2013, Plaintiff performed janitorial duties in the

prison barbershop. Bobby Mattison (“Mattison”), an IDOC employee who supervised the

barbershop, was Plaintiff’s supervisor.

       81.     Plaintiff notified Mattison of his injury shortly after he was injured. Mattison

authorized Plaintiff to take time off to recover and return to work when he was able.

       82.     In October of 2013, while still using a crutch, Plaintiff reported to his job

assignment and successfully performed his duties.

       83.     The following day, Plaintiff reported to work but was turned away by Mattison,

who told Plaintiff not to return while on crutches.




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       84.     Mattison issued this order despite the fact that Plaintiff performed his job duties

while on crutches one day earlier.

                                     CLASS ALLEGATIONS

       85.     Plaintiff brings a class action claim pursuant to Rule 23(b)(2) of the Federal Rules

of Civil Procedure, seeking prospective declaratory and injunctive relief against Defendants

Baldwin and Williams in their official capacities relating to their failure to ensure that IDOC

and/or Stateville comply with medical permits requiring low galleries, low bunks or both (the

“Class Claim”).

       86.     Plaintiff brings the Class Claim on behalf of himself and all inmates of IDOC who

from June 26, 2011 to present received medical permits requiring placement in a low gallery,

low bunk or both.

       87.     Class action status is proper for the Class Claim, because the class of persons

described in Paragraph 87 above is so numerous that the individual joinder of all absent class

members is impracticable and because Defendants Baldwin and Williams, in their official

capacities, have acted and refused to act on grounds that apply generally to the class, making

final injunctive relief and declaratory relief appropriate for the class as a whole. While the

inmate population of Stateville and the number of inmates subject to medical permits requiring

low galleries and/or low bunks at Stateville fluctuate, the exact number of absent class members

is unknown to Plaintiff at this time but will be ascertainable upon appropriate discovery from

Defendants Baldwin and Williams.

       88.     Common questions of law or fact exist as to each of the members of the proposed

class, including but not limited to whether Defendants Baldwin and Williams have violated and

continue to violate inmates’ Eighth Amendment rights by failing to ensure that IDOC and/or

Stateville complies with medical permits requiring low galleries, low bunks or both.


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        89.     Plaintiff is a proper representative of the proposed class, because he is a member

of the class described in Paragraph 87 above. Plaintiff’s claims are typical of the claims of the

proposed class. Plaintiff has repeatedly received low gallery and/or low bunk permits that IDOC

and/or Stateville refused to enforce in violation of the United States Constitution and federal law.

        90.     Plaintiff will fairly and adequately represent the interests of the members of the

proposed class and has no interests in conflict with those of the proposed class. This Court has

appointed competent attorneys who are experienced in class action and complex litigation to

represent Plaintiff in this matter.

        91.     The proposed class may properly be certified under Federal Rule of Civil

Procedure 23(b)(2), because Defendants Baldwin and Williams have acted in a manner generally

applicable to the proposed class as a whole, making final injunctive relief appropriate with

respect to the proposed class as a whole.

                                      CAUSES OF ACTION

                                        COUNT I
     Deliberate Indifference To Serious Medical Need In Violation Of 42 U.S.C. § 1983
                (By Plaintiff And Members Of The Proposed Class Against
              Defendants Baldwin And Williams In Their Official Capacities)

        92.     Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 91 above.

        93.     Between June 26, 2011 and present, Plaintiff and members of the proposed class

received medical permits requiring that they be placed in low galleries, low bunks or both.

        94.     Receipt of a medical permit requiring placement in a low gallery and/or low bunk

gave Defendants Baldwin and Williams, operating in their official capacities, persuasive

evidence of a serious medical need.

        95.     Defendants Baldwin and Williams maintain official policies relating to the

provision of medical care within Stateville but do not maintain any written policy pertaining to



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compliance with medical permits requiring placement of inmates in low galleries, low bunks or

both at Stateville.

        96.     Between June 26, 2011 and present, Plaintiff and members of the proposed class

exhibited easily detected symptoms or conditions requiring placement in low galleries, low

bunks or both, such as the use of crutches or other plainly visible restrictions on mobility.

        97.     Defendants Baldwin and Williams maintain official policies relating to the

provision of medical care within Stateville but do not maintain any written policy pertaining to

reassignment of inmates to low galleries, low bunks or both based on plainly apparent medical

needs for same.

        98.     Defendants Baldwin and Williams and their respective agents knew that Plaintiff

and members of the proposed class had medical permits requiring placement in low galleries

and/or low bunks and exhibited obvious medical needs for reassignment to low galleries and/or

low bunks between June 26, 2011 and present.

        99.     As a direct and proximate result of Defendants’ failure to maintain policies

relating to compliance with low gallery and/or low bunk permits or reassignment of inmates to

low galleries or low bunks based on obvious medical needs, Defendants and their respective

agents repeatedly failed to honor medical permits requiring that Plaintiff and members of the

proposed class be placed in low galleries, low bunks or both.

        100.    Absent an injunction, Defendants and their respective agents will continue to fail

to honor low gallery and/or low bunk permits and fail to reassign inmates to low galleries or low

bunks based on obvious medical needs.




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                                       COUNT II
                               Violation Of ADA And RA
   (By Plaintiff Against Defendants Baldwin And Williams In Their Official Capacities)

       101.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 100 above.

       102.    The State of Illinois accepts federal funds for its prisons, and IDOC and Stateville

are therefore subject to the RA.

       103.    Plaintiff, due to his injuries and while using crutches and/or subject to low

gallery/low bunk permits, was a qualified individual with a disability within the meaning of the

ADA and RA.

       104.    Plaintiff, as an inmate at Stateville, was entitled to a bed and access to showers,

meals and other facilities and accommodations.

       105.    Plaintiff was denied access to Stateville programs, activities, facilities and

accommodations on the same basis as other inmates because of his disability.

       106.    Defendants Baldwin and Williams, acting in their official capacities, individually

or together and under the color of law, perpetuated an official policy and widespread custom and

practice whereby IDOC and Stateville employees fail or refuse to adequately comply with low

gallery/low bunk permits and fail or refuse to reassign inmates to low galleries or low bunks in

response to obvious medical needs.

       107.    As a direct result of this policy, custom and practice, Plaintiff was repeatedly

denied access to a bed and other prison facilities on the same basis as other inmates.

       108.    Furthermore, while assigned to work in Stateville’s barbershop, Plaintiff was

entitled to report to work, perform his duties and receive compensation for his work but was

denied these benefits or services because of his disability.

       109.    These denials caused Plaintiff pain and suffering, embarrassment and lost wages.




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        110.   These denials also amount to an independent violation of the Eighth Amendment

to the United States Constitution, as applied to the states by the Fourteenth Amendment, insofar

as they resulted from failures or refusals to honor Plaintiff’s low gallery/low bunk permits or

reassign him to low galleries or low bunks based on his obvious medical needs.

                                       COUNT III
    Deliberate Indifference To Serious Medical Need In Violation Of 42 U.S.C. § 1983
   (By Plaintiff Against Defendants Baldwin And Williams In Their Official Capacities)

        111.   Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 110 above.

        112.   Defendants Baldwin and Williams, acting in their official capacities, under the

color of law, perpetuated an official policy and widespread custom and practice whereby IDOC

employees deny inmates medical diagnosis or treatment -- regardless of the severity of the

inmates’ medical needs -- if the inmates are scheduled to be seen in the healthcare unit at a future

date.

        113.   Defendants Baldwin and Williams are, and at all relevant times were, aware of

facts from which they could infer a substantial and obvious risk of serious harm to inmates as a

result of this policy, custom and practice, and they disregarded that substantial and obvious risk

by perpetuating the policy, custom and practice.

        114.   As a result of this policy, custom and practice, Plaintiff was denied medical

diagnosis or treatment after he was injured on April 28, 2013, despite his obvious and immediate

need for medical care, because he was scheduled to be seen in the Stateville healthcare unit on

April 30, 2013.

        115.   This denial of medical care caused Plaintiff unnecessary, wanton and lasting pain.




                                                21
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                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff respectfully requests:

       A.       A declaration that Defendants Baldwin and Williams, in their official capacities,

have subjected Plaintiff to conditions of confinement, both individual and in aggregate, that

deprive Plaintiff of his rights under 42 U.S.C. § 1983 and the Eighth and Fourteenth

Amendments to the United States Constitution;

       B.       A declaration that Defendants Baldwin and Williams, in their official capacities,

violated Title II of the ADA and Section 504 of the RA;

       C.       An order that the Class Claim can be pursued on a class basis pursuant to the

Court’s powers under Federal Rule of Civil Procedure 23 and defining the class as described in

Paragraph 87;

       D.       A declaration that Defendants Baldwin and Williams, in their official capacities,

have subjected Plaintiff and members of the proposed class to conditions of confinement, both

individual and in aggregate, that deprive Plaintiff and members of the proposed class of their

rights under 42 U.S.C. § 1983 and the Eighth and Fourteenth Amendments to the United States

Constitution;

       E.       Compensatory damages arising from violations of Title II of the ADA and Section

504 of the RA by Defendants Baldwin and Williams;

       F.       Injunctive relief arising from violations of Title II of the ADA, Section 504 of the

RA, 42 U.S.C. § 1983 and the United States Constitution by Defendants Baldwin and Williams;

       G.       Injunctive relief in favor of the proposed class arising from violations of 42

U.S.C. § 1983 and the United States Constitution by Defendants Baldwin and Williams;

       H.       Costs, expenses and reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988, 42

U.S.C. § 12205 and Section 794a of the RA; and


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       I.     Such further legal, equitable and other relief as this Court deems just and proper.

                                       JURY DEMAND

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a

trial by jury on all claims asserted in the above Second Amended Complaint.




Dated: September 10, 2015                   Respectfully submitted,

                                             /s/ Trevor K. Scheetz
                                            One of the Attorneys for
                                            Plaintiff Christopher Everett
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                             EXHIBIT A
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     Monitoring Visit to Stateville Correctional Center 2013
Stateville Correctional Center (Stateville) is located approximately 40 miles outside of Chicago
in Joliet, IL. Stateville operates a maximum-security facility (max), a Minimum Security Unit
(MSU), and the Northern Reception and Classification center (NRC), where 85 to 90 percent of
all Illinois Department of Corrections (IDOC) inmates enter the system.1 Stateville also manages
and temporarily houses inmates on court and medical writs from other male IDOC facilities. This
report addresses the max facility; however, many resources – including healthcare – are spread
across the Stateville max, MSU, and NRC, and many conditions affect the entirety of Stateville.

                                             Vital Statistics:
                                             Population: 1,615
                                             Rated Capacity: 978
                                             Operational capacity: 1,693
                                             Average Age: 31
                                             Percentage of Population aged 50 or older: 22%
                                             Average Annual Cost per Inmate (FY 2011): $28,870
                                             Population by Race: 75% Black, 14.5% White, 10.5%
                                             Hispanic/Latino

                                             Source: IDOC, April 2013

Key Observations

    •   Physical plant issues continue to raise major concerns, particularly in the roundhouse,
        Unit F, which is the only panopticon still in use in the United States.

    •   Inmates’ healthcare needs overwhelm Stateville where high demand is continually
        aggravated by insufficient resources, including key staffing vacancies.

    •   Although visitation has been demonstrated to both aid in facility management by
        promoting positive behavior and correlate to reduced recidivism, Stateville’s visiting
        room physical space and hours are limited.

    •   Illinois’ fiscal crisis had crippled the Illinois Correctional Industry programs at Stateville.

    •   Additional mailroom staff were needed to alleviate delays.



1
  The MSU is commonly referred to as “Stateville Farm” and inmates housed there have work assignments
throughout Stateville in both the max and NRC. The latest monitoring report on NRC and MSU is available at
http://thejha.org/NRC.
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     Monitoring Visit to Stateville Correctional Center 2013
                                           Executive Summary
The primary problems noted in JHA’s prior reports persist at Stateville’s maximum-security
facility.2 Yet, as JHA’s 2011 report stated: “Stateville’s biggest challenges—severe
overcrowding, understaffing, a grossly deteriorating physical plant, lack of education and inmate
programming, and lack of resources to address these issues—are squarely beyond the control of
the facility’s staff and administration.”3

The strain of continual overcrowding at NRC, where inmates regularly are sleeping in locations
intended for other uses, directly impacts all of Stateville. In reviewing this draft in September
2013, IDOC officials stated that there had not been inmates sleeping in Stateville max’s
nonstandard housing locations since July 2013. However, JHA spoke with staff who stated that
there are still regularly 200 to 300 inmates sleeping in such locations at NRC. More precisely, as
of September 20th, 2013, there were 100 inmates awaiting transfer to boot camp housed in a
gym, 35 inmates on the floor in the NRC healthcare unit, 90 inmates on the floor in NRC
staging, and three in the MSU on the floor. Staff also expected that there would be even more
inmates on the floor the following week based on lack of transfers out. IDOC officials responded
that this expected increase was speculation. Staff stated that inmates have been sleeping in the
gym for the past two years and in the staging area for the past eight months. Since the time of
JHA’s 2012 NRC monitoring visit, there are more than 100 additional inmates housed at
Stateville.4 IDOC officials stated that they see the inmates housed in nonstandard areas in the
NRC as a transient situation because the same inmates are not housed in nonstandard areas for
extended periods.

Nonetheless, the sharing of physical space and staffing resources with the overcrowded NRC
further reduces already limited opportunities for Stateville max inmates.5 Illinois’ prison
population is aging and many Stateville max inmates are serving 20 years to life. As IDOC faces

2
  This report is based on an April 4, 2013 monitoring visit and ongoing communications with inmates and staff. This
report supplements JHA’s previous monitoring reports, available at http://www.thejha.org/stateville. Stateville and
IDOC administrators reviewed and fact-checked a draft of this report and it was last discussed with JHA on October
2, 2013. No factual substantive changes have been made since this time prior to publication. All statements of
opinions and policy recommendations herein are JHA’s unless otherwise stated. See also JHA’s 2013 publication
How JHA’s Prison Monitoring Works, available at www.thejha.org/method.
3
  Available at http://www.thejha.org/stateville.
4
  Available at http://thejha.org/NRC.
5
  In addition to the burden of an infirmary shared with NRC, at the time of the visit, due to commissary shared with
NRC, the max inmates had commissary services only every six to eight weeks. IDOC officials reported that since
the visit with the addition of staff inmates are now offered commissary twice a month. Administrators reported that
discussions continue on creating a separate NRC commissary. Additionally, inmates who have been in intake at
NRC more than 60 days, which is increasingly common given limited available bed space throughout IDOC, must
use the max visiting room, again limiting opportunities for other inmates. However, JHA reiterates our
recommendation from the 2012 JHA NRC report that NRC segregation inmates also be permitted visitation after 60
days if not otherwise restricted (C Grade). IDOC officials report that a plan is being developed for NRC visitations
at the NRC. JHA will continue to monitor these developments.
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crowding throughout facilities, older inmates with long sentences, even those who have already
served long terms and have had impeccable behavior, are unlikely to be transferred to other
facilities that may be more suitable for their growing medical needs than a maximum-security
environment.

Against this backdrop, this year Stateville administrators reported the greatest challenges for the
facility remain accountability, fiscal resources, and staffing issues. JHA believes that the time for
accountability for the crowding and physical plant crisis at Stateville is long overdue. For
instance, Stateville has $84 million in deferred maintenance costs alone for the facility.6

Additionally, Illinois must take accountability for the state of its correctional healthcare system.7
The United States Constitution’s prohibition against cruel and unusual punishment requires
prison officials to provide adequate healthcare for inmates. In a positive step towards this goal,
Illinois House Resolution 57 calls for the National Commission on Correctional Health Care
(NCCHC) to audit the IDOC healthcare system in response to JHA’s recommendation for an
independent entity audit.8 However, Stateville has immediate needs. At the time of the visit,
Stateville staff reported difficulty obtaining basic supplies,9 while inmates file more medical
grievances than any other category.10

Stateville houses medical writ inmates from all IDOC facilities who are being sent out to outside
Northern hospitals, and the max facility’s infirmary is also used to house infirmed NRC inmates
who are just entering the IDOC system. These populations have greater than average medical
needs.11 Further, IDOC remains reliant on paper medical records, which makes transmissions of
information between facilities and with outside care more difficult.

JHA and IDOC agree that implementing an electronic medical record system is vitally important.
However, although the program was intended to be implemented system-wide by now, there are
continued delays. JHA has yet to see any capacity in even a pilot location, and healthcare staff at
6
  To put this in perspective, $84 million is seven percent of IDOC’s annual $1.2 billion budget. Some improvements
have been initiated recently including a new locking system in X House and new fiber lines for updated radio
equipment. Though the projects were not complete at the time of the 2013 visit, since the visit, IDOC reports that the
radio system has been implemented.
7
  See JHA’s 2012 healthcare report, Unasked Questions, Unintended Consequences: Fifteen Findings and
Recommendations on Illinois’ Prison Healthcare System, available at
http://thejha.org/sites/default/files/Unasked%20Questions-Unintended%20Consequences.pdf.
8
  See Illinois House Resolution 57 (adopted May 22, 2013), available at
http://www.ilga.gov/legislation/fulltext.asp?GAID=12&SessionID=85&GA=98&DocTypeID=HR&DocNum=57&
LegID=72056&SpecSess=&Session. See also, Recommendation 1 of JHA’s 2012 healthcare report, available at
http://thejha.org/sites/default/files/Unasked%20Questions-Unintended%20Consequences.pdf.
9
   See further discussion of medical supply issues in the Healthcare section below. Other supply issues reported by
administrators included burdensome ordering procedures for everyday items such as toilet paper, foam trays, paper
napkins, clothing and cleaning items. However, since the visit, IDOC officials reported that ordering issues have
been addressed by hiring a new Business Administrator and properly training others in the correct procedures for
ordering supplies. JHA is pleased with this reported improvement and will continue to monitor the issue.
10
   See further discussion in Grievances and Healthcare sections below.
11
   For example, intake inmates may be experiencing illegal drug withdrawal if they enter the system as a parole
violator, or withdrawal from prescription medication that will not be continued within IDOC. IDOC officials stated
that medications are never discontinued due to cost, though they may be switched to generics. See further discussion
in the Healthcare section below.
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Stateville again noted the need for shelving for paper medical record storage.12 The latest report
from IDOC officials is that electronic medical records are planned to be piloted at just the two
female correctional centers this fall. Stateville administrators promised that needed shelving for
paper records will be installed at their facility by the end of this year. JHA will continue to
monitor and advocate for implementing planned medical records improvements.

This report addresses the following: Grievances, Healthcare, Living Conditions, Programming
and Industry, and Staffing.

                                            Recommendations

     •   JHA repeats our recommendation that IDOC must carefully monitor temperature and
         ventilation control and institute a strategic plan for improvements.

     •   JHA continues to recommend that IDOC improve the grievance procedure, including
         implementing a system for permitting inmates to retain a record of their grievance.

     •   JHA continues to recommend oversight for the IDOC healthcare system and corrected
         staffing levels.

     •   JHA continues to recommend that IDOC improve sharing of medical records to allow
         greater continuity of care; this is particularly important to facilitate efficient and timely
         outside specialist care.

     •   JHA recommends that Stateville expand visiting hours.

     •   JHA recommends a review of Illinois Correctional Industry operations to determine
         feasible goals given Illinois’ fiscal crisis and the current needs of IDOC.

                                                 Grievances
In the year prior to the visit, across all of Stateville there were 6,836 inmate grievances recorded.
Healthcare complaints represented the largest category of grievances by a factor of two times as
many grievances as any other category, representing about a third of the total grievances. The
trends for healthcare grievances appeared to be continuing at the time of the visit in 2013, with a
marked acceleration of grievances relating to outside medical screening or furloughs, typically
used for specialist care. The next largest grievance categories were staff conduct, personal
property, and cell conditions.13




12
   See Recommendation 2 of JHA’s 2012 healthcare report, available at
http://thejha.org/sites/default/files/Unasked%20Questions-Unintended%20Consequences.pdf.
13
   Some such complaints relate to physical plant conditions discussed in the Living Conditions section below.
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JHA cannot confirm or deny the validity of particular inmates’ reports set forth herein.14
Complaints presented are not presented as fact; rather they reflect common concerns and
attitudes that JHA believes should be acknowledged and addressed.15 IDOC is given the
opportunity to review and respond for all monitoring reports prior to publication.

Inmates at Stateville, as at every IDOC facility JHA has visited, reported that grievances are not
responded to in a timely manner. Some inmates expressed that they believe delays or missing
grievances are purposeful, as a way of avoiding addressing certain issues, so that inmates’
grievances will expire and have to be resubmitted for review.

In response to this report, IDOC officials denied such claims and reported that grievances have
even been accepted outside required timeframes. Further, IDOC officials stated that anti-gang
and other security measures, combined with required verification, could make it falsely appear
that the process is delayed.

Grievances are required to be filed in a timely fashion and administrative remedies under the
grievance system exhausted before an inmate can bring a legal claim.16 Hence, if a grievance is
lost or delayed, a legal claim may be precluded due to an inmate’s failure to properly exhaust his
administrative remedies. During the visit, staff confided that there was a backlog of
approximately 700 medical grievances; examples of such concerns are discussed in the
Healthcare section below. IDOC officials stated that since the visit, Stateville has improved the
grievance process to being current within one week of filing and the backlog is being
substantially reduced daily. JHA will continue to monitor this issue.

Grievance procedure also requires inmates to attempt to resolve issues through counselors as an
initial step. However, several inmates reported that counselors are not responsive. Inmates
complained that counselors on monthly rounds would quickly walk the gallery and refuse to
engage with inmates. JHA has recommended increased hiring and training of counselors


14
   See JHA’s 2013 publication How JHA’s Prison Monitoring Works, “On a given prison visit, JHA interviews
between 80-100 inmates. Our Prison Response Organizer also corresponds with more than 2,000 inmates and their
loved ones every year through letters, phone calls, and emails. In these communications, JHA responds to requests
for assistance, and we also record them in our database, which allows us to track particular issues by facility.
Through these efforts, JHA is able to identify common issues and problems. … Research demonstrates this kind of
information is vital to the operations of Illinois’ prison system, as attitudes shape the culture of correctional facilities
and can have wider implications for security. Including these perspectives in our reports provides IDOC with an
important opportunity to respond and educate inmates about its policies and procedures, while it also shows inmates
and their loved ones that JHA uses what we learn from them in our advocacy.” Available at
www.thejha.org/method. Inmates may send privileged mail to JHA, 375 E. Chicago Ave., Suite 529, Chicago, IL
60611.
15
   A study found that “the lowest levels of tension and violence seem to exist in facilities where staff clearly follow
policies, where there is meaningful communication between prisoners and staff, and where prisoners feel respected.
All of these qualities flow from good leadership.” Confronting Confinement: A Report of the Commission on Safety
and Abuse in America’s Prisons, p. 23, available at
http://www.vera.org/sites/default/files/resources/downloads/Confronting_Confinement.pdf.
16
   See 20 Ill. Adm. Code 504.810, “Filing of Grievances,” available at
http://www.ilga.gov/commission/jcar/admincode/020/020005040F08100R.html; and the Prison Litigation Reform
Act, 42 U.S.C. § 1997e (2000), available at: http://www.law.cornell.edu/uscode/text/42/1997e.
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throughout IDOC.17 Stateville and NRC have 31 counselors for upwards of 3,900 inmates,
actually making Stateville’s counselor to inmate ratio better than that of many male IDOC
facilities, though inmates reported that it is still dysfunctional. IDOC officials stated that
counselors are responsive and do not refuse to engage with inmates. JHA will continue to
monitor these issues and continues to recommend that counselors log contacts.

Other complaints related to staff conduct included: staff physical abuse of inmates; ignoring
medical permits; retaliation and restriction of privileges based on an inmate’s litigation; an
allegation that an inmate would be double-celled with a known enemy as retribution; and
harassment based on committing crime or classification. IDOC officials denied physical abuse
by staff and state that retaliation and harassment is not tolerated. JHA encourages inmates to
document and report all such instances so they can be investigated.

An effective inmate grievance system is a fundamental element of a functional prison system, as
it is an important source of intelligence, promotes accountability and trust between inmates and
staff, and demonstrates respect for procedure and the rule of law.18 Given failures and delays
observed with the grievances at Stateville, JHA again advocates for oversight for the IDOC
healthcare system and recommends that IDOC improve the grievance procedure, including
implementing a system for permitting inmates to retain a record of their grievance.19

                                                   Healthcare
At the time of the visit, administrators reported that critical healthcare vacancies included a
physician and a dentist, as well as 25 nursing positions and four Correctional Medical Technician
(CMT) positions shared with NRC.20 Since the visit, administrators reported that both the
physician and dentist positions have been filled. Nursing shortages, as observed throughout
IDOC’s correctional healthcare system, are linked to greater stress and burnout for staff, and
increased safety risks and medical errors for patients.21 Administrators reported it would be

17
   See e.g., JHA’s 2013 Pontiac report, available at http://www.thejha.org/pontiac.
18
   See e.g., Confronting Confinement: A Report of the Commission on Safety and Abuse in America’s Prisons, p. 92,
available at http://www.vera.org/sites/default/files/resources/downloads/Confronting_Confinement.pdf.
19
   See e.g. JHA’s 2012 healthcare report, Recommendations 1 and 14, available at
http://thejha.org/sites/default/files/Unasked%20Questions-Unintended%20Consequences.pdf.
20
   At the time of the visit, although authorized for four physicians and four physician assistants, Stateville had just
two physicians and three physician assistants. NRC also lacked a medical director and physician assistant, while the
NRC Director of Nursing (DON) and nurse supervisors were on leaves of absence. State healthcare positions at
Stateville include the Healthcare Unit Administrator (HCUA), pharmacy technician, two dentists, a dental assistant,
nurses, the DON, and a nursing supervisor. Contractor Wexford Health Sources (Wexford) positions include
physical therapy (physical therapist for eight hours and physical therapy assistant for 16 house per week), nursing,
psychiatry, physicians, physician assistants, and NaphCare-dialysis. Administrators reported that minimum staffing
for both Stateville and NRC is in total 56 nurses and 27 CMTs. Stateville max had only 29 registered nurses (RNs)
and 12 licensed practical nurses (LPNs) for a total of 1,600 hours of coverage instead of the authorized 2,195. There
were only 14 of 18 authorized CMTs for the max facility coverage. Stateville has a pharmacist for four hours a
month, two pharmacy technicians for 75 hours a week, three full time lab technicians, and an optometrist for 56
hours a month. Stateville has five dentists for 153.5 hours of coverage and four dental assistants for 117.5 hours
weekly. At the time of the visit six nurses, six CMTs, and a dental assistant were on leaves of absence.
21
   See U.S. Department of Health and Human Services, Agency for Healthcare Research and Quality Patient Safety
Network, Nursing and Patient Safety, available at http://psnet.ahrq.gov/primer.aspx?primerID=22.
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helpful for them to have separate Stateville max and NRC medical staff, but ideally total staffing
would be increased to 72 nursing positions with additional certified nursing assistants for the
infirmaries. Nonetheless, IDOC officials clarified that all operational requirements are currently
filled with overtime and all medical posts are covered. JHA will continue to monitor these
staffing issues.

Stateville max has 30 hours of psychiatry coverage weekly. Additional mental health staff
includes four psychologists, four mental health professionals, and one social worker. The
average caseload of a mental health staff member was reported to be 95 inmates. There was a
backlog of 135 inmates waiting for receive non-emergent mental health care. At the time of the
visit, there were 291 inmates receiving psychiatric care with 121 on psychotropic medication,
two involuntarily. Eleven of the 78 inmates in segregation were receiving mental health
treatment.

JHA believes that staff need to take a more proactive approach to identifying mental health
issues at Stateville, as several inmates interviewed, particularly in segregation in the roundhouse,
expressed that they were having difficulties. Some inmates complained that they are taken off
particular mental health medications at the facility. IDOC officials responded that such decisions
are made solely by doctors, not unqualified staff, and side-effects are considered. Further, IDOC
officials stated that there is an ongoing issue with many mental health patients in society, not just
in prisons, choosing not to take their medications. JHA recommends increasing mental health
staffing at this facility and throughout IDOC.22

Stateville’s infirmary accommodates inmates with many different security classifications, so
managing the area is complicated. At the time of the visit, there were 23 inmates housed in the
max infirmary, which has the capacity to house 32. Five of those inmates were terminally ill.
There were 13 deaths at Stateville max in the prior five years, two of which were suicides. In the
past year there had been 105 instances of suicide watch. At the time of the visit, there were two
inmates on hunger strikes. JHA interviewed an inmate who had recently been on a hunger strike
without success; he stated he was attempting to receive medical and mental health treatment.

During the visit to the infirmary, JHA visitors had concerns about the lack of direct supervision
in the crowded medical bullpen, where only segregation inmates were handcuffed. However,
administrators stated that during day shift, there are two officers assigned to the area and one in
the infirmary. One inmate interviewed stated that he had come to the infirmary for a medical
emergency with a ripped out catheter and had been waiting over two hours. IDOC officials
denied this occurred. Inmates reported instances of waiting as long as nine hours. IDOC officials
stated they have no record of a nine-hour wait for any inmate in the medical bullpen. JHA has
received several complaints from inmates housed in the infirmary that the rooms are unsanitary
and that staff neglected them. IDOC officials responded that rooms are cleaned daily and after
each use. JHA visitors felt that during the visit a particular contractor Wexford Health Sources
(Wexford) administrator, though undoubtedly overwhelmed by the medical demand at the
facility, expressed disdain for inmates and was likely not putting personal feelings aside in

22
  See e.g., JHA’s 2012 healthcare report, Recommendation 8, available at
http://thejha.org/sites/default/files/Unasked%20Questions-Unintended%20Consequences.pdf.
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professional treatment of patients. IDOC officials responded that if that is ever the case, it is not
tolerated by IDOC, and would be immediately addressed. JHA will continue to monitor such
issues and encourage professional and respectful conduct. The fact that an inmate might not
receive any healthcare elsewhere does not relieve Illinois of its constitutional responsibility.

Other healthcare staff expressed considerable concern for professional treatment of inmates. JHA
received the following reports privately from healthcare staff, from both state and Wexford
employees, which was consistent with information received from inmates and other sources.
Several staff are concerned that they receive no specialized training and are not provided with
guidelines. IDOC officials responded that all staff are licensed, trained, and go through
orientation and pre-service orientation training. Staff expressed to JHA that they believe fear of
litigation causes many things to go undocumented. They reported that they are discouraged by
Wexford administrators from ordering certain medications and supplies due to cost. IDOC
officials stated that IDOC staff and supervisory personnel do not discourage the ordering or
administering of any necessary medication. Staff reported that basic items such as gloves are
rationed, so they will work with just one. IDOC officials deny gloves are rationed. In many
cases, staff reported to JHA that they feel that contractor Wexford does not support a physician’s
or other provider’s medical judgments. IDOC officials responded that all decisions are supported
within the parameters of a correctional setting, and that whatever is necessary and physically
possible is done. JHA will continue to monitor and report on these issues.

At the time of the visit, administrators reported that needed medical equipment and supplies
included: (1) record keeping items — computers, a fax machine, a paperless chart system,
medical charts, shelving for medical records; (2) necessary infirmary items — hospital beds,
mattresses, wheelchairs,23 a blood pressure machine, a portable pulse oxygen meter, IV poles,
weight scales, shower chairs; and (3) dental and optometry equipment — a slit lamp, four dental
chairs, four lights, four units, two sterilizers, a x-ray developer, a high evacuation system, and an
ultrasonic cleaner. During the visit, a dentist proudly showed JHA visitors some newly received
equipment that should permit some additional treatment going forward. At the time of the visit,
there was a four-month wait for fillings and two weeks for extractions.24 IDOC officials reported
that since the visit needed equipment has been ordered, noting that the new Assistant Warden of
Program’s background in healthcare administration has had a positive impact. JHA is pleased
with these responses and will continue to monitor the situation.

Although Stateville reported 13,352 sick call visits for 2012, some inmates reported that they had
not seen healthcare staff because sick call requests were ignored, with reports of no response in
more than two months.25 IDOC officials denied that sick calls are ignored noting that medical

23
   In accord with this need, one inmate reported that he had to hop to healthcare, to the amusement of staff, because
there was no wheelchair available.
24
   In the past year, 1,162 extractions and 1,623 fillings were completed
25
   One inmate, who reported he made several requests and received no response, stated he recently had open-heart
surgery, had a staph infection, and needed blood pressure medication. Another inmate reported that he had difficulty
seeing healthcare staff on his housing unit and passed out prior to being sent to the infirmary, where he had to pay a
$5 copay and was just given acetaminophen. As stated in prior reports, JHA opposes correctional copays, given the
evidence that they unduly restrict inmates’ access to healthcare, jeopardizing the health of inmates, staff, and the
public. See JHA’s 2012 healthcare report, Recommendation 5, available at
http://thejha.org/sites/default/files/Unasked%20Questions-Unintended%20Consequences.pdf. See also, National
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teams make rounds daily; hence, a wait of “more than two months” would be highly unusual.
They acknowledged that delays may occur, but stated that emergent cases never wait.

JHA received several complaints from inmates who had transferred into Stateville from other
facilities without being reevaluated or getting medications and prescriptions continued.
Administrators confirmed that this does at times accidentally occur, which points again to the
need for better a better recordkeeping mechanism. Inmates also reported that they are not
allowed to submit refill and medical permit requests early enough to ensure continuous treatment
at Stateville.26 IDOC officials explained that often patients must be reevaluated before their
prescriptions can be refilled and inmates do not want to wait for this normal procedure. IDOC
officials also stated that there are documented cases of inmates claiming to have not been seen
who actually were seen. IDOC officials further wished to note that JHA cannot confirm or deny
the validity of particular inmates’ reports. JHA will continue to monitor such issues and
encourages inmates to clearly document their concerns.

Inmates reported that physicians are frequently not at the facility and appointments are cancelled.
IDOC officials reported that since the visit, daily nurse sick call is now held in the housing units,
which should eliminate waits and free up the physicians to see only those requiring physician
attention. Outside appointments are also often canceled or delayed. In addition to scheduling
issues, lockdowns also cause appointments to be canceled. Stateville had 88 days of lockdown in
the prior year.27 JHA finds the policy of canceling all healthcare appointments due to lockdown
untenable and again recommends this be reconsidered.28 In one documented example, a “one
week” follow-up appointment actually occurred 12 weeks later and a pending specialist
appointment had not occurred in more than four months. Several inmates reported never
receiving follow-up appointments with both in-facility staff and specialists. JHA believes that
this is also an area where electronic recordkeeping would be helpful.




Commission on Correctional Heath Care, Position Statement: Charging Inmates a Fee for Health Care Services
(October 2005), available at http://www.ncchc.org/charging-inmates-a-fee-for-health-care-services.
26
   JHA interviewed an inmate who stated he had a blood clot in his leg and continuously tried to get treatment.
Eventually he was sent to University of Illinois, Chicago (UIC) specialist and was returned to Stateville with
medication and prescriptions that needed to be refilled. However, he did not get a refill and the inmate relapsed and
had difficulty walking and communicating. His cellmate wrote to the UIC doctor, who then requested the inmate be
brought back to UIC for further treatment and held there for the remainder of his recuperation to ensure proper
treatment. IDOC officials reported that they were not notified by inmate of this alleged incident. They note that the
onsite Wexford medical director is the primary doctor who has final authority over all treatment regimens.
27
   In comparison Pontiac Correctional Center and Menard Correctional Center, IDOC’s other male maximum-
security facilities, reported six and 251 days of lockdown respectively. However, Pontiac inmates have very little
movement to begin with, as Pontiac is primarily used for long-term segregation. JHA reports on these facilities are
available at http://thejha.org.
28
   See JHA’s 2012 Menard report, available at http://thejha.org/menard.
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At the time of the visit, due to the lack of a
                                                   Number of Stateville Inmates Diagnosed29
physician, there was a backlog for the chronic
care clinics other than Hepatitis C and HIV Asthma                                   158
clinics, which are provided through Telemed.       Cancer                            20
Staff and administrators at Stateville considered Diabetes (Type 1)                  105 (2)
Telemed an asset, as it is does not require Hepatitis C                              83
waiting for specialist appointments, nor does it   HIV                               14
incur additional security and transportation Hypertension                            404
costs. IDOC officials reported that since the Seizure                                26
visit, the clinical backlog has dramatically General Medical                         92
improved, noting that as of September 1, 2013, there were only 56 hypertension and 18 diabetic
cases waiting, while all other backlogs have been cleared. JHA hopes that Stateville will remain
on the path of continued improvement.

At the time of the visit, 352 inmates were older than 50 years old and 74 inmates were identified
as having a disability. JHA commends Stateville for offering a separate recreation time for
inmates with special needs. Many healthcare complaints JHA received related to conditions of an
older population, including things like requests for lower bunk permits. IDOC officials noted that
while they will grant bottom bunk requests when appropriate, they do not grant bottom gallery
requests. JHA recommends that IDOC continue to plan for accommodation of the needs of
Illinois’ aging prison population, as discussed in JHA’s 2013 Dixon report.30

Additionally, JHA interviewed and corresponded with deaf and hearing-impaired inmates who
reported difficulties at Stateville. Issues reported ranged from inability to get hearing aid
batteries and depression, to receiving segregation time for failing to hear an order and safety
concerns related to being unable to hear. IDOC officials stated that battery replacement has a
weekly schedule and that batteries can be furnished as needed outside the schedule. They also
stressed that segregation is not automatic, and that there is a review process in which hearing
difficulties, when proven, are considered. JHA again recommends that IDOC ensure adequate
means of communication for deaf and hearing-impaired inmates.31 IDOC officials reported that
they do ensure this, in part through two onsite certified sign-language interpreters and video
interpretation. JHA will continue to monitor this issue.

Other inmates with disabilities at Stateville reported instances of neglect including not receiving
sufficient diapers for incontinence issues and mobility issues where they were not getting
consistent accommodations to be taken to chow hall or showers. Stateville administrators
reported they had addressed particular instances that JHA raised to their attention.



29
   Data provided by Stateville administrators from April 2013.
30
   Available at http://thejha.org/dixon.
31
   Healthcare via Telemed can provide sign language interpretation. At the time of the visit, administrators were
considering the possibility of adding sign language interpretation for religious services. Since the visit,
administrators reported that the issue of sign language for religious services is being addressed by the Americans
with Disabilities Act (ADA) Coordinator and others. Officials report they will review the same program at Big
Muddy River Correctional Center for possible implementation at Stateville. See also, JHA’s 2013 Big Muddy report
and 2012 NRC report, available at http://thejha.org.
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                                             Living Conditions
Stateville max inmates typically are double-celled and may leave their cells for work or school
assignments if applicable,32 visits,33 medical passes, law library, chow, or twice weekly two-and-
a-half-hour recreation periods.34 Like other maximum IDOC facilities, Stateville offers little in
formal educational or vocational opportunity for max inmates, with fewer than five percent of
the population participating at the time of the visit.35

IDOC officials noted that the Stateville offerings meet all agency policies, which reflect State of
Illinois laws. Since the visit, administrators reported that educational course offerings have been
increased and the barber program is pending State of Illinois licensing.36 JHA commends these
positive developments and encourages IDOC to continue to strive for more than the legally
required minimum across the board. We note that in approximately six months since JHA’s 2013
visit, Stateville administrators reportedly have been capable of making several substantial
improvements, notably with some of JHA’s longstanding concerns regarding mixed populations
in the roundhouse.

At the time of the visit, the roundhouse or Unit F, housed disciplinary or administrative
segregation,37 orientation, general population overflow, inmates on court and medical writs,
protective custody inmates, and inmates requiring single-celled status including non-compliant
mental health inmates and inmates classified as either predators or vulnerables.38 As noted in
prior JHA reports, housing so many different populations together is problematic. It is
inadvisable for inmates with protective custody status to intermingle with others, and in the
roundhouse, though the populations were housed on different levels, these inmates may
encounter inmates in disciplinary segregation and inmates from another facility at Stateville on a
writ. Further, the design of the roundhouse panopticon is intended to enable lines of sight.

Administrators reported that since the visit Unit F has been realigned. They stated currently there
are three types of population housed in Unit F: segregation, general population, and overflow
status. Administrative detention and protective custody inmates have been relocated to Unit X.

32
   At the time of the visit there were about 250 inmates with work assignments and 60 inmates in educational
programming, meaning that about 80% of the population had neither.
33
   General population inmates are permitted a maximum of five two-hour visits a month (with one weekend visit and
longer visits for those who travel far distances), for more information on visitation see
http://www2.illinois.gov/idoc/facilities/Pages/statevillecorrectionalcenter.aspx.
34
   Those housed in Unit F or the infirmary have only one recreation period weekly.
35
   See Programming and Industry section below.
36
   See further discussion in the Programming and Industry section below.
37
   Notably Stateville’s segregation population was down to 78 from 137 at the time of the 2011 visit. The average
length of time in segregation at Stateville reported by administrators in 2013 was 4.1 years, compared to 13 months
reported at the time of the 2011 visit. Stateville uses a modified Long Term Segregation Incentive Program, to give
inmates an opportunity to reduce their segregation time. Administrators report that a committee reviews long term
segregation placements monthly and that as of September 1, 2013 six inmates were active in the program. At the
time of the 2013 visit, 11 of the 78 inmates in segregation were receiving mental health treatment. For more
information about IDOC use of segregation reduction techniques see JHA’s 2013 Pontiac report, available at
http://www.thejha.org/pontiac.
38
   At the time of the visit, Unit F housed 78 segregation inmates (out of a capacity of 134), 12 inmates on writs, 61
protective custody inmates, and 35 single-celled inmates.
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Administrators reported that this move allows the facility to better manage their population to
include services provided to those with special mental health needs, such as those with predator
or vulnerable classifications.

During the visit, JHA observed deterioration and lack of upkeep in many parts of the max
facility. The covered walkways showed years of paint shed in chips. Several buildings on the
grounds have been condemned and closed. Inmates at Stateville complained that the water is
discolored and has a strange taste.39 At the time of the visit, Stateville administrators reported a
need for some physical plant water line repair, which has since been completed. However, they
stated that all water reports including the annual drinking water quality report were in complete
compliance with the Environmental Protection Agency standards and regulations and that water
is tested by an outside agency, Aero Lab. Inmate reports of bird, rodent, cockroach, and spider
infestations were common and credible. Since the visit, the exterminator contract has been
expanded.

JHA visitors found Unit F to be in particularly poor condition, noting peeling paint,40 water
leaks, and mold. Inmates complained of insufficient cleaning supplies and of the plumbing in the
building, which requires a ten-minute toilet flush delay. IDOC officials stressed that the ten-
minute flush is a timer system to avoid some inmates intentionally flooding cells. Again, inmates
reported cockroaches were impossible to get rid of and swarmed their cells at night, even getting
in their ears and wound dressings. Administrators responded, as noted above, that since the visit
they had reviewed the pest control contract and would be changing the insecticide spraying
schedule and locations. JHA believes this is a positive step; yet given that this is a longstanding
issue, we still have concerns.

JHA received reports from several inmates that they had particular concerns about double-celling
in Unit F. We also received reports that previously a mental health staff member helped facilitate
appropriate assignments, but this individual had resigned. JHA interviewed several inmates in
Unit F who appeared desperate for assistance, including some inmates who appeared to be
hallucinating. Other inmates expressed fear of assault, depression, suicidal thoughts, and some
seemed particularly suspicious and paranoid. Poor physical plant conditions, including extreme
temperature and terrible acoustics, likely make inmates more uncomfortable, and these inmates
may be less likely to sleep, due to fear of cellmates or cockroaches, adding to instability.
Administrators stated that inmates housed in Unit F are routinely seen by mental health staff and
crisis team members are on all shifts, seven days a week. Further, IDOC officials reported that
the realignment of Unit F has permitted a quieter atmosphere and more privacy for treatment.

Cells with Plexiglas coverings are typically difficult to see and communicate through, but in Unit
F, JHA visitors observed in some such cells a layer debris trapped in the door fronts that needed
cleaning. Administrators stated that cleaning supplies are available upon request and regular
cleaning schedules are followed. Inmates in Plexiglas fronted cells also expressed concerns about
temperature and ventilation, which are issues throughout the facility. JHA repeats our
recommendation that IDOC must carefully monitor temperature and ventilation control, and

39
     Correspondingly, inmates complained of limits on drinking water that could be purchased on commissary.
40
     Administrators noted that a staff painter was hired in March 2013.
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institute a strategic plan for improvements. Administrators reported that since the visit, three
large wall-mounted fans were installed in Unit F.

A fault at many IDOC’s antiquated facilities is that heat is either on or off. During the visit, this
was noted in the non-contact visiting area, which was very hot. Inmates also complained that
they are not able to effectively regulate temperature and ventilation through use of windows,
some of which were broken. Given the lack of control over heat, JHA could not understand why
the facility had to collect inmate jackets at a set time, given the unseasonable low temperatures in
late Spring this year after the heat was turned off. IDOC officials stated that this was strictly for a
one-time inventory and replacement of worn-out jackets, noting that after a warm March, April
was unusually cold.

JHA receives many complaints about apparel cleanliness and availability throughout IDOC, but
at Stateville and NRC we have observed numerous inmates with clothing and shoes that were
literally falling off. Additionally, we observed dirty mattresses and torn sheets.

JHA visited the dietary area. Fried chicken was being prepared. There were several apparent
issues in the kitchen, including needed plumbing repairs and an inmate worker was doing some
repair inside a large oven. We noted deteriorating flooring and built up debris trapped in various
corners, likely blown in through vents. Inmate workers complained of rodents and droppings,
stating that they only had glue boards to combat mice. IDOC officials responded that poison is
not permitted in food preparation areas for sanitary reasons and that “snap” traps were eliminated
when inmates stole them to make weapons, later discovered in routine searches of cells.

Other inmates complained about dietary sanitary practices, unclean food trays, not getting as
much food as in the past, getting spoiled food, cold food, high soy content, no variety, and no
fresh produce. IDOC officials wished to note that JHA cannot confirm or deny the validity of
particular inmates’ reports. They deny that Stateville serves spoiled food and that the menu lacks
variety. IDOC officials stated that adult males of low to moderate activity, such as inmates,
require approximately 2,000 calories per day and IDOC inmates get that daily. They also
explained that IDOC bologna is not the reddish color most people are accustomed to due to the
fact that it contains no chemical red dye. Stateville has six gardens and administrators reported
that produce from the gardens is utilized in the facility. JHA recommends that the facility
continue to expand this self-sustaining initiative. Further, we continue to recommend that IDOC
and Stateville consider evidence on the impact of diet, particularly the negative impact of
processed foods, on health and facility management.41 IDOC officials noted that they have a
dietician on staff at Stateville and stated that fresh fruit is part of the Statewide Department
Master Menu.

Stateville runs three library sessions per day with 30 inmates per session for a period of two
hours. Inmates reported it was difficult to get to the library and there was a long waitlist. There
are 10 inmate law clerks, two paralegal assistants, and a library manager. Some inmates reported
that they must pay others with commissary for help with legal work. Inmates reported that books

41
  See e.g., JHA’s 2012 healthcare report, Recommendation 4, available at
http://thejha.org/sites/default/files/Unasked%20Questions-Unintended%20Consequences.pdf.
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and forms needed updates. However, paralegals have access to electronic legal resources.
Several inmates reported that the typewriters in the library had no ink.42 Administrators reported
this was corrected after the visit. JHA also noted that the library was in need of repairs, including
painting and fixes for roof leaks.

Contact with the outside world through phones, visits, and mail, are vitally important for inmate
wellbeing,43 particularly where activities are as limited as at IDOC maximum-security
facilities.44 Due to the proximity of Stateville to Chicago, where most inmates’ families reside,
this is a heavily visited facility. Nonetheless, visiting hours are limited to only 7:30 am to 2:30
pm daily. JHA recommends that Stateville expand visiting hours. IDOC reports that these hours
are limited due to security concerns. Stateville has an extremely problematic visiting room,
which is accessed by stairs, small for the population,45 can become extremely loud, and has
seating configured for security purposes so the inmate’s seat is awkwardly elevated above those
of the visitors.46 Visitors with disabilities may be able to arrange to use the attorney visitation
rooms if they are not in use. IDOC officials note that available space is determined by security
requirements. JHA received a few reports that staff were reluctant to guarantee or schedule
special visitation. JHA has also received reports of visitors being treated disrespectfully to
discourage visitation. IDOC officials deny that staff discourage visitation and stated that
occasionally visitors violate security and other rules upon arrival and must be turned away.
However, they report that all allegations of rudeness are investigated.

                                     Programming and Industry
At the time of the visit, there were two Adult Basic Education (ABE) classes with 30 students
enrolled and 87 on the waitlist. 25 inmates were enrolled in the General Education Development
(GED) class, with 42 on the waitlist. In the latest available data, 17 inmates obtained ABE and
11 obtained GED in the prior year. Stateville offered a 1,500-hour barbering vocational program
with five participants.47

Due to other prison closures, Stateville has acquired additional educators and at the time of the
visit, administrators stated they planned to offer additional GED and ABE classes. Since the
visit, administrators reported that educators and classes have been added in each category and



42
   In 2012 all personal typewriters were confiscated from inmates in maximum-security facilities due to IDOC
determining that inmates were weaponizing typewriter parts. See JHA 2012 Menard report, available at
http://www.thejha.org/menard.
43
   See e.g., “Confronting Confinement: A Report of the Commission on Safety and Abuse in America’s Prisons,” p.
35-37, available at: http://www.vera.org/sites/default/files/resources/downloads/Confronting_Confinement.pdf.
44
   JHA commonly receives complaints from Stateville inmates that they do not even have writing instruments and
they can be completely cut off from the outside world if they have restricted phone and visitation status.
45
   Stateville can accommodate a maximum of 33 general population, 20 NRC, four ADA or special visits, as well as
non-contact visits, at once.
46
   One reason for this is so that items cannot be passed underneath the table; however, inmates are searched before
and after visits and this seating arrangement precaution is not used at other IDOC facilities.
47
   See also, IDOC’s April 2013 Quarterly Report, available at
http://www2.illinois.gov/idoc/reportsandstatistics/Documents/IDOC_Quarterly%20Report_Apr_%202013.pdf.
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participation has doubled.48 In general, since the visit, administrators report that program staff
has been greatly increased. JHA commends this development.

Several inmates interviewed during the visit complained that there are no programs to help
rehabilitate them and nothing to prepare them for outside world. IDOC officials noted that
“Parole School” classes begin six months prior to release. Inmates who had GEDs or high school
diplomas wished there was some further education or programming, and complained that all
activities are “geared to the lowest common dominator.” A few inmates particularly requested
more religious services, noting church was reduced to only once a month. IDOC officials
reported this was not the case, and that church services are seven days per week. JHA will
continue to monitor this issue.

JHA received several complaints about the lack of treatment for sex offenders at Stateville.49 Sex
offenders who receive treatment generally have lower rates of recidivism than those who do not,
yet such programs remain scarce in IDOC.50 While IDOC officials say that such programs are
“somewhat limited,” JHA believes that having no more than at most few hundred treatment spots
and a few devoted staff members across the agency for the nearly 8,000 IDOC inmates labeled as
sex offenders, is inadequate to meet the needs of the population, most of whom will eventually
return to society.51 At the time of the visit, Stateville housed 318 sex offenders with no special
programming for that population.52 To quote a letter from one such inmate: “Yes I have a sex
problem ... I want to get help before I go home.”53 Since the visit, administrators reported they
now house 307 sex offenders. JHA is hopeful that the planned implementation of the new Risks
Assets Needs Assessment (RANA) screening tool will lead to more inmates receiving needed
services while incarcerated.54


48
   The July 2013 IDOC Quarterly report reflects that 144 Stateville inmates were being served in educational or
vocational programming, compared to 60 in April 2013. Quarterly reports available at
http://www2.illinois.gov/idoc/reportsandstatistics/Pages/QuarterlyReports.aspx.
49
   The Stateville inmate orientation manual states: “Modern and contemporary sex offender treatment is available
within the Department of Corrections in conjunction with Clinical Services. In accordance with Departmental
policy, the Mental Health Department will contact each sex offender incarcerated at Stateville to explain treatment
available at other institutions.” However, many individuals at Stateville will be ineligible for transfer to the few
lower security facilities where treatment is offered.
50
   See e.g. Congressional Research Service (CRC) Report for Congress, Civil Commitment of Sexually Dangerous
Persons, p. 18–19 (July 2, 2007), available at http://www.policyarchive.org/handle/10207/bitstreams/18628.pdf; R.
Karl Hanson, et. al., A Meta-Analysis of the Effective of Treatment for Sexual Offenders: Risk, Need, and
Responsivity, (2009), available at https://www.ncjrs.gov/App/Publications/Abstract.aspx?id=260177.
51
   See discussions of sex offender treatment and related staffing issues within IDOC in JHA’s 2013 Big Muddy
report and forthcoming 2013 Graham report, available at http://thejha.org/publications.
52
   Six inmates had been approved for release but were not released because of lacking appropriate placement. IDOC
officials note that they do not control host-site availability and that this is a community issue. For further discussion
of this reentry issue see JHA’s 2013 Big Muddy report, available at http://thejha.org/bigmuddy.
53
   JHA encourages inmates to report any instance of sexual assault in prison. The Prison Rape Elimination Act
(PREA) mandates zero tolerance. Inmates may call the IDOC PREA report line, report by submitting a request slip,
a grievance, telling a trusted staff member, or asking a family member or friend to call the IDOC report line, 217-
558-4013. Inmates may make anonymous reports through JHA. For more information about PREA see
http://www.prearesourcecenter.org/, and for further information about IDOC policy see IDOC’s PREA webpage, at
http://www2.illinois.gov/idoc/programs/pages/prisonrapeeliminationactof2003.aspx.
54
   See JHA’s report Reforming Illinois’ Prison System from the Inside Out, available at http://www.thejha.org/rrp.
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Inmates also wanted programming addressing coping skills for those with long sentences. JHA
continues to recommend expansion of mental health staffing and programming, including
offering more group and individual therapy, particularly for inmates with sex offenses and
inmates who will need coping skills for long sentences.55 JHA commends Stateville for offering
group counseling for substance abuse issues through the New Directions program, with 29 max
inmates participating. Stateville administrators reported they are currently reviewing strategies to
address these areas.

Due to proximity to Chicago, Stateville benefits from several volunteer programs. These include:
art, poetry, creative writing, a restorative justice class taught by a professor from DePaul and
including college students as well as inmates, and a Friday Speakers Series. Administrators
stated that scheduling, staffing, and physical space considerations make it challenging to add
additional programs. During the visit, many inmates interviewed were unaware of volunteer
program opportunities, likely due to the fact that participation is limited. IDOC officials
responded that inmates need to take some personal responsibility and learn of program
availability. JHA commends Stateville for their use of volunteers and recommends the continued
expansion and publicity of these programs. Administrators noted particular volunteer needs
included proctors to monitor testing of inmates who take correspondence courses and English as
a Second Language (ESL) teachers.56 The IDOC procedure for volunteer clearance can be
lengthy.

There are 252 maximum-security inmates with job assignments out of 290 possible assignments.
While some inmates felt that to get a job assignment you had to snitch, the eligibility
requirements are that the inmate must have: for the prior five years, no tickets for assaults, drugs,
or weapons; for the prior two years, no segregation terms; and no previous removal for discipline
from an assignment. Inmates are given one-year work assignments.

Illinois Correctional Industries (ICI) work assignments are typically the best paid and most
sought after jobs at IDOC facilities.57 Stateville’s industry at the time of the visit employed just
11 inmates in the furniture shop and 10 inmates in soap manufacturing. Formerly, more than a
hundred inmates were employed in this vast ICI area. ICI supervisors stated that there were no
new orders coming in and ICI does not solicit any business outside of Illinois-governmental
entities. While ICI would like to hire more inmate workers, doing so would require having more
orders and would add the expense of more staff.

At every IDOC facility JHA visits, inmates complain that they have insufficient cleaning
supplies while ICI produces such items.58 IDOC officials stated that cleaning supplies are
controlled substances and, for security reasons, are issued in small amounts only at inmate
request, while cell units are cleaned weekly. During the visit to Stateville’s industry facility we
learned from staff that Illinois has been so behind on vendor payments that ICI has had difficulty

55
   For more information about sex offender treatment see JHA’s 2013 Big Muddy report, available at
http://thejha.org.
56
   JHA encourages anyone interested in these opportunities to contact the Stateville Assistant Warden of Programs.
57
   For more information see http://www.icicatalog.illinois.gov/.
58
   Similarly, it is difficult to understand the disrepair of clothing throughout IDOC when ICI also manufactures these
items at other facilities.
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getting necessary raw materials. IDOC officials stated that working with various vendors and
through other procedures, ICI does have necessary raw materials.
Historically, ICI was developed to prepare inmates for life upon release, to support life while
incarcerated (through farming, food production, clothing, etc.), and in some cases to be
profitable. All of these are noble goals. However, JHA believes ICI needs to determine feasible
goals given Illinois’ fiscal crisis and the current needs of IDOC. ICI has shown an ability to
adapt, notably with recent ramping up of recycling programs.59 Given that profit through selling
particular items, such as office furniture, to outside entities does not currently appear successful,
JHA believes ICI through inmate workers should refocus on rehabilitation of IDOC facilities
while providing inmates with work skills for reentry success and improving inmates’ quality of
life.60
In reviewing this draft, IDOC officials stated that ICI will soon introduce a recycling program
employing 56 inmates at Stateville, also noting that this program will save on waste removal
fees. JHA commends this planned adaptation.

                                                      Staffing
At the time of the 2013 visit,
                                              Stateville Staff     Authorized      Actual
Stateville employed 1,147 staff, of
                                         Major                         12             9
whom 373 were female. The racial
make-up of the staff was 57 percent Lieutenant                         57            54
Black, 34 percent White, eight percent Sergeant                        60            55
Hispanic/Latino, and one percent         Correctional Officer          734          771
Asian. This staff represents the most Correctional Counselor           28            31
diversity that JHA has observed at any   Clerical/Administrative       156          157
IDOC facility. Unlike most IDOC facilities, Stateville benefits from having several bilingual
staff members with a variety of languages.
In April 2013, 65 security staff members and eight clerical/administrative staff members were on
leaves of absence. Seven security staff were redirected to clerical or administrative duties. Out of
five authorized mailroom staff, Stateville was operating with just two, and administrators
reported a four-day backlog. Some inmates reported legal mail delays. Administrators noted an
increase of clerical staff due to inheriting staff from recent closures of other correctional
facilities; however, they stated that additional staff is still needed for mailroom and
timekeeping.61
                                               ###

59
   See e.g. recent news article about ICI taking over recycling at the State Fair, available at http://www.sj-
r.com/thedome/x1806125816/Correctional-Industries-to-take-over-recycling-at-state-fair.
60
   See 730 ILCS 5/3-12-2, Correctional Employment Programs, Types of Employment, which provides that ICI can
employ inmates for a wide variety of functions including maintenance of IDOC buildings and properties, or
production of necessities for IDOC programs. Available at
http://www.ilga.gov/legislation/ilcs/ilcs4.asp?DocName=073000050HCh.+III+Art.+12&ActID=1999&ChapterID=5
5&SeqStart=13000000&SeqEnd=14900000.
61
   JHA also notes that instituting several improvements we recommend, such as increasing visitation and volunteer
run programs, will necessitate greater security staffing or changes to staffing to permit more facility activity at times
other than first shift (7 am to 3 pm).
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Since 1901, JHA has provided public oversight of Illinois’ juvenile and adult correctional
facilities. Every year, JHA staff and trained volunteers inspect prisons, jails and detention centers
throughout the state. Based on these inspections, JHA regularly issues reports that are
instrumental in improving prison conditions.


               JHA’s work on healthcare in DOC is made possible through a generous grant by
               the Michael Reese Health Trust.
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                             EXHIBIT B




                                     25
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   Final Report of the Court Appointed Expert
                       Lippert v. Godinez




                              December 2014




              Prepared by the Medical Investigation Team

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s trate gies . A t the e xtre m e was D ixon, as pe c            ialm iss ion (re c    e ption c  e nte r, ge riatricu nit, s pe c ial
program for d isable d , s pe c         ial hou s ing for patients with m e d ic             al or m e ntal he alth proble m s )
fac  ility, bothm e d ic    aland m e ntalhe alth, whic            hat the tim e ofou rvisit had avac             ant H e althC are
U nit A d m inistrator pos ition, a vac              ant D ire c  tor of N u rs ingpos ition and in e s s e nc          e a vac   ant
M e d ic  al D ire c tor pos ition fille d by a W e xford “trave llingm e d ic                 al d ire c  tor.” Spe c  ial m iss ion
fac  ilities s e rve a fu nc    tion for the e ntire prison s ys te m and thu s te nd to c                    onc e ntrate m e d ic al
pathology or proble m s . A s are s u lt ofthe c               onc   e ntration of m e d ic   alproble m s , aprogram that is
not e ffe c   tive ly m anage d c     re ate s the pote ntialfor harm to the patients and le gal liability to the
State. T he d e gre e of bre akd owns we fou nd at D ixon we re the m os t s e ve re . T he re m u s t be a
re qu ire m e nt that aM e d ic     alD ire c    tor hire d by W e xford m u s t be board c            e rtified in prim ary c   are ,
pre fe rably e ithe r fam ily m e d ic         ine or inte rnal m e d ic        ine . In ad d ition, the one H e alth C are
A d m inistrator re s pons ible for both N R C and State ville had be e n takinge xte nd e d le ave s of
abs e nc   e . T his is a ve hic    le for failu re . A d d itionally, the D ire c         tor of N u rs ingpos ition at e ac       h
fac  ility, c  om m only a ve nd or pos ition, m u s t have the re s pons ibility on a fu ll-tim e bas is for
ove rs e e ingnu rs ingc      linic  al s e rvic  e s . W e are told that at s e ve ral s ite s the y have an ad d itional
ad m inistrative as s ignm e nt with re gard to W e xford c                        orporate re s pons ibilities . T his is not
ac  c e ptable . T he ove rs ight ofas u bs tantialnu rs ingprogram is afu ll-tim e job. N o tim e s hou ld be
take n away from that re s pons ibility. T he le ad e rs hipvac                 u u m s at D ixon, State ville and N R C have
re s u lte d in proc   e s s and c   are bre akd owns on a d aily bas is. R e c              e ption is not d one tim e ly and
m e d ic  alre c ord s are alm os t im pos s ible to e ffe c       tive ly u tilize at N R C d e s pite the fac    t that the re is a
pe rs on ons ite in c     harge ofm e d ic      alre c  ord s . A t Illinois R ive r, the M e d ic    alD ire c  tor pos ition was
vac   ant and this was be ingfille d two d ays pe r we e k by the M e d ic                    alD ire c   tor from E as t M oline .
T he re appe are d to be an e ffe c       tive D ire c   torofN u rs ingwho atte m pte d to fillin als o as the H e alth
C are U nit A d m inistrator, s inc       e that pos ition was fille d by s om e one on m ilitary le ave forthe pas t
ye ar and ahalf. A t H illC orre c            tionalC e nte r, both the H e alth C are A d m inistrator pos ition and
D ire c  tor of N u rs ingpos ition we re fille d by ind ivid u als who appe are d to be qu ite c                      apable . T he
M e d ic  alD ire c  tor pos ition is fille d by ad oc          tor for whom we id e ntified c           linic alc onc e rns d u ring
ou rre c   ord re views and m ortality re views . A t M e nard , the M e d ic              alD ire c  torpos ition is fille d by a
c linic  ian traine d as age ne rals u rge on. T his fac             ility als o has no prim ary c         are traine d c linic ians ,
e ve n thou ghthe ove rwhe lm ingm ajority of c                   linicalre s pons ibilities fallwithin the prim ary c            are
field . T he re is no D ire c     torofN u rs ingat M e nard ;howe ve r, the H e althC are U nit A d m inistrator
appe ars qu ite c     apable and m ake s an e ffort to fillin. H owe ve r, as ind ic               ate d throu ghthis re view of
e ight ins titu tions , ve ry fe w if any withthe e xc               e ption ofP ontiachave ac            om ple te te am with all
pos itions fille d by c      apable ind ivid u als . It is not s u rprisingthat the we ake r the le ad e rs hip the
poorer the m e d ic       al pe rform anc     e . E ac   h program ’     s pe rform anc     e s hou ld be m e as u re d at le as t
annu ally and , whe re ind ic       ate d , le ad e rs hipc   hange s m u s t be m ad e .

W e fou nd c     linician qu ality to be highly variable ac        ros s the ins titu tions we visite d and ac     ros s
m e d ic alre cord s we re viewe d . T he re we re e xam ple s ofhighqu ality c         linicians at s om e fac ilities ,
bu t in othe r ins tanc    e s the qu ality of c  linical c are was poor and re s u lte d in avoidable harm to
patients . For e xam ple , none ofthe thre e phys ic        ians at one ins titu tion we visite d had any form al
trainingin aprim ary c         are field . D u ringthe c  ou rs e ofou r re view ofthe c     are at this fac ility, we
c am e ac   ros s s e ve ral e xam ple s of avoidable harm to patients re s u lting from inappropriate
m anage m e nt ofc     om m on prim ary c     are c ond itions . For e xam ple , at M e nard , patient [REDACTED]
d e ve lope d ad iabe ticfoot u lc    e r that was not appropriate ly m anage d and re s u lte d in am pu tation.
T his s am e patient, atype 1 d iabe tic       , had his ins u lin d iscontinu e d in re s pons e to we llc ontrolle d

                                                                 6
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blood s u gars , whic   hre s u lte d in d ram aticd e te rioration ofhis d iabe te s c
                                                                                      ontrol. T his e rrorre fle c    ts
alac  k ofu nd e rs tand ingofthe bas icpathophys iology ofthis c         om m on d ise as e . In anothe rins tanc     e
at this fac   ility, patient [REDACTED] pre s e nte d with poorly c        ontrolle d d iabe te s and the d oc       tor
triple d his ins u lin d os e and qu ad ru ple d the d os e ofhis oralm e d ication. T his ofc   ou rs e re s u lte d in
re pe ate d e pisod e s oflow blood s u gar. Lu c   kily the patient kne w to re fu s e his m e d ic ation in ord e r
to avoid s e riou s harm .

A t Illinois R ive r, a26-ye ar-old m an ([REDACTED])re pe ate d ly inform e d he althc             are s taffthat he
had atrial fibrillation, a fac       t that was c    onfirm e d by his jail re c    ord s , bu t this history was
d isc ou nte d u ntilhe s u ffe re d as troke . H ad c linicals taff liste ne d to the patient and re viewe d his
jailre c   ord , the y wou ld have le arne d that he s hou ld have be e n on blood thinne rs to re d u c        e the
c hanc   e s of this d e vas tatinge ve nt. A t the s am e fac    ility, P atient [REDACTED] pre s e nte d with
c las s ics igns and s ym ptom s of lu ngc      anc e r from the tim e he arrive d in ID O C , ye t the s e we re
ignore d by he alth c    are s taff for thre e m onths . B y the tim e he was finally d iagnos e d , the only
tre atm e nt he was e ligible forwas palliative rad iation, whic       hhe d e c line d . H e d ied nine d ays late r.

T he hiringof u nd e rqu alified c            linic ians into the s ys te m is proble m atic             , as e vid e nc  e d by the
e xam ple s s tate d above . B y “u nd e rqu alified ,”we d o not m e an that the provid e ris not qu alified to
prac  tic e m e d ic ine , bu t rathe r u nd e rqu alified to prac             tic e the type of m e d ic     ine re qu ire d of the
pos ition. For e xam ple , age ne rals u rge on is u nd e rqu alified to prac                    tice prim ary c   are in the s am e
way an inte rnist is u nd e rqu alified to prac            tic
                                                             e ge ne rals u rge ry. T his proble m is c          om pou nd e d by a
lac  k of c   linicalove rs ight and pe e r re view, both loc                 ally and c    e ntrally, and alac     k of e le c  tronic
re s ou rc e s , whic hpre ve nts c      linicians from havingac            c e s s to inform ation vitalto m e d ic     ald e c  ision
m akingat the point of c             are . W e re c  om m e nd that allM e d ic          alD ire c tors be board c     e rtified in a
prim ary c     are field and s taffphys ic       ians have s u c     c e s s fu lly c om ple te d aprim ary c     are re s id e nc y. It
is ne c e s s ary that allc   linic   ians have ac    c
                                                      e s s to e le c tronice d u c     ationalre s ou rc e s at the point ofc      are .
T his m e ans that c      om pu te rs with inte rne t ac       c e s s s hou ld be pre s e nt in the e xam room s s o that
provide rs c     an ac ce s s e s s e ntialc linic alinform ation at the tim e the y are s e e ingthe patients . T he re
s hou ld be pe riod icpe e r re view ofc           linic alprac    tic  e , bothat the loc       al/facility le ve land c    e ntrally.
A t m os t ofthe fac      ilities we visite d , the M e d ic      alD ire c     tors we re fu nc   tioningin prim arily c       linic al
role s and s pe nt little ifany tim e re viewingthe c              linic    alprac    tice ofthe othe rprovide rs ore ngaging
in othe rim portant ad m inistrative d u ties .

Staffingd e fic   ienc ies are fac   ility s pe c  ificto Stateville and D ixon with re gard to the nu m be r of
vac  anc ies . For e xam ple , 23 ofState ville ’        s 66 bu d ge te d pos itions are vac  ant, and 18 ofD ixon’        s
66 bu d ge te d pos itions are vac       ant. A d d ingto the proble m is that ke y le ad e rs hip pos itions are
vac  ant at the s e two fac       ilities . State ville ’   s H e alth C are U nit A d m inistrator, who is als o
re s pons ible forthe N R C , has be e n on an e xte nd e d m e d ic        alle ave ofabs e nc e . A d d e d to that is the
iss u e that 10 of the 20 bu d ge te d c        orre c tionalnu rs e II re giste re d nu rs e pos itions are vac    ant, as
we llas 10 of the 18 bu d ge te d c         orre c tionalm e d ic  alte c  hnician pos itions . W hile this nu m be r of
vac  ant pos itions c   re ate s a s ignific    ant ope rational iss u e , the proble m be c     om e s wors e be c    au s e
State ville nu rs ings taff is re qu ire d to as s ist at the N R C with intake and ope ration of the N R C
he althc   are u nit, and State ville nu rs ings taff is re as s igne d to the N R C whe n N R C nu rs ings taff
d oe s not re port to work. T he N R C s c        he d u le E ofapprove d bu d ge te d pos itions only provid e s for
e ight pos itions , none of whic         h are nu rs ing s taff. A s a re s u lt, he alth c       are d e live ry s u ffe rs
s ignific antly, whic   h affe c ts ac  c e s s to c  are and re s u lts in d e lays in tre atm e nt. Staffingat N R C

                                                                  7
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W hile it is ID O C polic      y that e ac   h m onth the ins titu tional M e d ic      al D ire c tor re views the
d oc u m e ntation oftwo s ic kc alle nc  ou nte rs pe rprovid e r, i.e ., R N , LP N orC M T forc    om ple te ne s s ,
this is are tros pe ctive pape rre view to d ete rm ine that the provide rans we re d allthe qu e s tions and
c he cke d allthe boxe s on the pre -printe d tre atm e nt protoc     olform . T he re is no way, howe ve r, for
the phys ic   ian re viewe r to d ete rm ine if the provid e r ac      c u rate ly inte rpre te d and d oc  u m e nte d
phys ic  alfind ings in ord e rto d ete rm ine an appropriate as s e s s m e nt and tre atm e nt.

A t e achofthe fac   ilities ins pe c  te d , whe n anon-re giste re d nu rs e c  ond u c
                                                                                        te d s ic
                                                                                                kcall, the re was no
im m e d iate re view by a re giste re d nu rs e or phys ic          ian to ins u re the provide r c   ond u cte d an
appropriate phys ic   alas s e s s m e nt and ac  cu rate ly inte rpre te d phys ic
                                                                                  alfind ings.

O fparticu larc  onc   e rn, s pe c
                                  ific ally at State ville and P ontiac  , is the fre qu e nt arbitrary c anc e llingof
s ic
   kc alle ncou nte rs by s e c   u rity s taff. Su c
                                                    hprac   tic
                                                              e s re pre s e nt s ignific
                                                                                        ant im pe d im e nts to ac  cess
to care and re s u lt in d e lays in tre atm e nt.

O fnotable c  onc  e rn at D ixon is the prac     tic e ofm e d ic als taffonly pe rm ittingapatient to voic     e one
conc e rn at an e nc  ou nte r d e s pite m u ltiple c  onc e rns liste d on the s ic  kc allre qu e s t. Sinc
                                                                                                             e inm ate s
are charge d ac   o-pay form e d ic     als e rvice s , inm ate s inte rviewe d at D ixon we re ofthe opinion that
be ingpe rm itte d to have only one he althc          are c om plaint ad d re s s e d at an e nc
                                                                                               ou nte rwas a“m one y
m aking”s c  he m e forthe State .

A t s om e fac  ilities , m os t notably N R C and D ixon, it was d iffic      u lt to im pos s ible to e valu ate s ick
callbe c au s e aSic    k C allLoghas not be e n d e ve lope d orm aintaine d . In fac         t, d u ringthe fou rd ays
at N R C , as ic kc  alllist c  ou ld not be pre s e nte d e ve n thou ghre qu e s te d m u ltiple tim e s .

H illC orre c   tionalC e nte r has d e ve lope d as ic
                                                      kc   alls ys te m withthe above nu m be re d e le m e nts in
plac e . O nly rare ly d oe s anon-re giste re d nu rs ings taff m e m be r re view/triage s ic kc  allre qu e s ts
and c  ond u c  t s ickcall. T his ge ne rally happe ns whe n s ic   kc allflows ove r to the 3-11 s hift, and a
Lic e ns e d P rac  tic
                      alN u rs e wou ld c om ple te any re m ainings ic  kcallfrom the d ay s hift.

Recommendations:
   1. E ac hfac    ility is to d e ve lopand im ple m e nt aplan to ins u re :
      a) Sic    kc   allis c  ond u c  te d in ad e fine d c    linic   als pac e that is appropriate ly e qu ippe d and
           provide s patient privac         y and c  onfid e ntiality.
      b) Sic    kc   allre qu e s ts are c  onfid e ntialand to be viewe d only by m e d ic             als taff.
      c ) T he re view/triage ofs ic         kc  allre qu e s ts and c     ond u c tingofs ic     kc  allis pe rform e d by a
           lic e ns e d re giste re d nu rs e .
      d ) Le gitim ate s ic     kc  alle nc   ou nte rs to inc    lu d e c olle c
                                                                                tingahistory, m e as u re m e nt of vital
           s igns , visu alobs e rvations and a“hand s -on”phys ic                alas s e s s m e nt.
      e ) T he re m u s t not be arbitrary re s tric       tions on the nu m be rofs ym ptom s to be ad d re s s e d at
           an e nc   ou nte r.
      f) FollowingO ffic          e ofH e althSe rvic      e s e s tablishe d polic   y and proc     e d u re.
      g) C om ple te d oc      u m e ntation.
      h) Im ple m e ntation and m ainte nanc            e ofas ic     kc  alllog.
   2. A d m inistration m u s t ins u re he alth c          are ac    tivities s u c h as s ic   k c all are not rou tine ly
      c anc e lle d , as this re s u lts in an u nac   ce ptable d e lay in he althas s e s s m e nt.

                                                            18
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                       APPENDIX A
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              Stateville Correctional Center
                            (SCC) Report




                              February, 2014




               Prepared by the Medical Investigation Team

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Overview
O n Janu ary 21-23, and Fe bru ary 24-25, 2014, we visite d the State ville C orre c
                                                                                   tionalC e nte rin Joliet,
Illinois. T his was the firs t s ite visit to SC C and this re port d e s c     ribe s ou r find ings and
re com m e nd ations . D u ringthis visit, we :

         M e t withle ad e rs hipofc   u s tod y and m e d ical
         T ou re d the m e d icals e rvic e s are a
         T alke d withhe althc    are s taff
         R e viewe d he althre c  ord s and othe rd oc   u m e nts
         Interviewe d inm ate s

W e thank W ard e n M ic
                       hae lM aganaand his s taffforthe iras s istanc
                                                                    e and c
                                                                          oope ration in c
                                                                                         ond u c
                                                                                               ting
the re view.


Executive Summary
State ville is am axim u m -s e c u rity fac ility. T he cu rre nt popu lation forthe e ntire com ple x (N orthe rn
R ec e ption C e nte r, M inim u m Se c u rity U nit and State ville prope r)is 4078 inm ate s , approxim ate ly
1600 ofwhom we re hou s e d at State ville prope r, the foc          u s ofthis re port. T he m axim u m -s e c
                                                                                                              u rity
u nit has a32-be d infirm ary whic        h s e rve s the e ntire c om ple x. T he re are fou r d ialys is c
                                                                                                           hairs at
State ville whic  hc  an the re fore ac com m od ate u pto 18d ialys is patients .

T he re is am ajorproble m withac        ce s s to care at this fac  ility. C linics are fre qu e ntly cance lle d d u e to
lockd owns , s taffingiss u e s , and to ale s s e rd e gre e by “no s hows ,”thu s re s u ltingin d e laye d orm iss e d
chronicc   are c linic
                     s , te le m e d icine visits and s ic    kc all. In the c   harts that we re viewe d , anywhe re
from 33% to 75% ofs c       he d u le d appointm e nts we re c    anc  e lle d forthe s e re as ons .

T he M e d ic alD ire ctor is as u rge on by trainingand c         hart re views s u gge s te d that his prim ary c        are
s kills are not u pto d ate . T he othe r phys ic     ian has m ore c    u rre nt s kills , bu t ironically d e fe rs to the
M e d ic alD ire ctorforc as e s whic  hare m ore c     om ple x orhighe rrisk. N e ithe rphys ic       ian has ac   ce s s to
any e le c tronicm e d icalre fe re nc e s or re s ou rc e s ;this d e cre as e s the like lihood that patients willbe
tre ate d ac cord ingto the m os t c u rre nt acc  e pte d s tand ard s ofc   are . T his was ind e e d the cas e in m any
ofthe c   harts we re viewe d .

A globalproble m withthe c         hronicc   are program is that patients are not s c
                                                                                    he d u le d ac
                                                                                                 cord ingto the ir
d e gre e ofd ise as e control, bu t rathe rby the c  ale nd arm onth. T his is astate wide polic  y iss u e which
ne e d s to be corre c te d . W e als o fou nd m any ins tanc e s in whic
                                                                        hpatients ’c  hronicd ise as e s we re not
m anage d as aggre s s ive ly as the y s hou ld have be e n whe n the ird e gre e ofcontrolwas poor. In m any
ofthe c   harts that we re viewe d , the proble m lists we re not u pd ate d .

W ithre gard to the d iabe te s clinic, the tim ingbe twe e n ins u lin ad m inistration and the s tart ofthe
m e als c
        an be qu ite variable , and fe e d ingtim e s c
                                                      hange d ay-to-d ay, plac  ingpatients at



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